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                            SETTLEMENT AGREEMENT AND RELEASE

          This Settlement Agreement and Release (the “Agreement”) is made by and among Joetta

Callentine (“Plaintiff”), on behalf of herself and the Settlement Class (as defined below), on the

one hand, and American Express Company and American Express Centurion Bank (together,

“American Express”), on the other hand.             Plaintiff, Class Counsel (as defined below) and

American Express hereby stipulate and agree that, in consideration of the promises and

covenants set forth in this Agreement and upon entry by the Court (as defined below) of a Final

Approval Order (as defined below), all claims of Plaintiff and the Settlement Class Members (as

defined below) in the action entitled Jennifer Ossola, Joetta Callentine and Scott Dolemba v.

American Express Company, et al., U.S.D.C. Northern District of Illinois, Case No. 1:13-CV-

4836 (the “Action”), shall be settled, compromised and released upon the terms and conditions

contained herein.

I.        RECITALS

          This Agreement is made with reference to and in contemplation of the following facts

and circumstances:

              A.   The Action alleges that American Express violated the Telephone Consumer

     Protection Act, 47 U.S.C. § 227 (the “TCPA”), by having a third-party, Alorica Inc.

     (“Alorica”), place telemarketing calls, to cellular telephones through the use of an automatic

     telephone dialing system or an artificial or prerecorded voice without the prior express consent

     of Plaintiff and the putative class members.

              B.   American Express vigorously denies all claims asserted in the Action and denies

     all allegations of wrongdoing and liability. American Express desires to settle the Action on

     the terms set forth herein solely for the purpose of avoiding the burden, expense, risk and

     uncertainty of continuing these proceedings.

              C.   This Agreement results from and is the product of extensive, good faith and arm’s

     length negotiations.    The Parties (as defined below) participated in a private, in-person


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  mediation before the Honorable Morton Denlow (Ret.) on April 14, 2016, as well as

  subsequent telephonic conferences with Judge Denlow.

              D.   The Parties enter into this Agreement, subject to preliminary approval and final

  approval by the Court as required by Rule 23 of the Federal Rules of Civil Procedure, to fully,

  finally and forever resolve, discharge and release all rights and claims of Plaintiff and the

  Telemarketing Settlement Class Members (as defined below) in exchange for American

  Express’s agreement to pay the total amount of $8,250,000, inclusive of Settlement Costs and
  Settlement Awards as set forth below.

              E.   The Parties understand, acknowledge and agree that the execution of this

  Agreement constitutes the settlement and compromise of disputed claims. This Agreement is

  inadmissible as evidence except to enforce the terms of the settlement and is not an admission

  of wrongdoing or liability on the part of any Party to this Agreement. It is the Parties’ desire

  and intention to effect a full, complete and final settlement and resolution of all existing

  disputes and claims as set forth herein.

        NOW, THEREFORE, in light of the foregoing, for good and valuable consideration, the

receipt of which is hereby mutually acknowledged, Plaintiff, on her behalf and on behalf of the

Telemarketing Settlement Class, and American Express agree to the Telemarketing Settlement

(as defined below), subject to approval by the Court, as follows:

II.     DEFINITIONS

              A.   In addition to the terms defined elsewhere within this Agreement, the following

  defined terms apply throughout this Agreement and the attached exhibits:

                   1.     “Action” means the action entitled Jennifer Ossola, Joetta Callentine and

Scott Dolemba v. American Express Company, et al., U.S.D.C. Northern District of Illinois,

Case No. 1:13-CV-4836.

                   2.     “Agreement” means this Settlement Agreement and Release and the

attached exhibits.


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               3.     “Alorica” means Alorica Inc.

               4.     “American Express” means American Express Company and American

Express Centurion Bank.

               5.     “American Express’s Counsel” means Stroock & Stroock & Lavan LLP.

               6.     “American Express TCPA Settlements” means this Telemarketing

Settlement and the Debt Collection Settlement.

               7.     “CAFA Notice” refers to the notice requirements imposed by 28 U.S.C.
§ 1715(b).

               8.     “Claim Form” or “Claim” means the claim form to be submitted by

Telemarketing Settlement Class Members in order to receive a Settlement Award pursuant to

Section III.F of this Agreement, subject to approval by the Court, substantially in the form

attached hereto as Exhibit 1.

               9.     “Claim Period” means the period of time in which a Telemarketing

Settlement Class Member must submit a Claim Form to be eligible to receive a Settlement

Award as part of the Telemarketing Settlement. As set forth in III.B.1, the last day of the Claim

Period will be 90 days following the Notice Deadline.

               10.    “Claims Administrator” means Kurtzman Carson Consultants (“KCC”).

The Claims Administrator shall be responsible for providing the Class Notice as well as services

related to administration of the Telemarketing Settlement.

               11.    “Class Counsel” means Burke Law Offices, LLC, Keogh Law, Ltd., Lieff

Cabraser Heimann & Bernstein, LLP, SmithMarco P.C. and/or Meyer Wilson Co., LPA to be

appointed counsel for the Telemarketing Settlement Class.

               12.    “Class Notice” means any type of notice that may be utilized to notify

persons in the Telemarketing Settlement Class of the Settlement, including one or more of the

following methods: E-mail Notice, Mail Notice, Website Notice and any different or additional




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notice that might be ordered by the Court. A description of the contemplated Class Notice is

provided in Section III.E of this Agreement.

               13.    “Class List” means the list of 798,626 cellular telephone numbers

identified as belonging to Telemarketing Settlement Class Members, and subject to confirmatory

discovery, identified from reasonably available information belonging to Alorica.

               14.    “Class Period” means the period from July 3, 2009 through March 15,

2016.
               15.    “Court” means the United States District Court for the Northern District of

Illinois.

               16.    “Cy Pres Distribution” means monies that may be distributed in

connection with the Telemarketing Settlement pursuant to Section III.G.3 of this Agreement. Cy

Pres will only be distributed for uncashed or undeposited checks and only then if a redistribution

to those eligible Telemarketing Settlement Class Members is not feasible pursuant to Section

III.G.2 of this Agreement.

               17.    “Debt Collection Settlement” means the separate class action settlement

which American Express, West Asset Management, Inc. (“WAM”) and plaintiffs Jennifer Ossola

(“Ossola”) and Scott Dolemba (“Dolemba”) have entered to resolve the individual and putative

class claims asserted by Ossola and Dolemba in the Action relating to debt collection calls by

WAM on behalf of American Express. The terms of the Debt Collection Settlement are set forth

in a separate agreement on file with the Court.

               18.    “Debt Collection Settlement Class Member” means any person who is a

member of the settlement class in the Debt Collection Class Settlement.

               19.    “Effective Date” means the fifth business day after the last of the

following dates:

                      a.      All Parties, American Express’s Counsel and Class Counsel have

executed this Agreement;


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                      b.        The Court has entered, without material change, the Final

Approval Order;

                      c.        The Debt Collection Settlement has been finally approved; and

                      d.        The final disposition of any related appeals, including without

limitation appeals of persons who have objected to the Debt Collection Settlement and/or

Telemarketing Settlement, and in the case of no appeal or review being filed, expiration of the

applicable appellate period.
               Notwithstanding the foregoing, at any time after entry of the Final Approval

Order, American Express shall have the right to declare that the Effective Date has occurred.

               20.    “E-mail Notice” means the notice that will be provided pursuant to

Section III.E.1 of this Agreement, subject to approval by the Court, substantially in the form

attached hereto as Exhibit 2.

               21.    “Final Approval Hearing” means the hearing during which the Court

considers the Parties’ request to enter the Final Approval Order granting final approval of the

Telemarketing Settlement and to determine the amount of fees, costs and expenses awarded to

Class Counsel and the amount of the service awards to Plaintiff.

               22.    “Final Approval Order” means the order and judgment that the Court

enters upon finally approving the Telemarketing Settlement, the proposed form of which is

attached hereto as Exhibit 6. “Final Approval” occurs on the date that the Court enters, without

material change, the Final Approval Order.

               23.    “Mail Notice” means the postcard notice that will be provided pursuant to

Section III.E.1 of this Agreement, subject to approval by the Court, substantially in the form

attached hereto as Exhibit 3.

               24.    “Notice Deadline” shall have the meaning set forth in Section III.B.1 of

this Agreement.




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               25.    “Opt-Out and Objection Deadline” shall have the meaning set forth in

Section III.B.1 of this Agreement.

               26.    “Parties” means Plaintiff and American Express.

               27.    “Plaintiff” means Joetta Callentine.

               28.    “Preliminary Approval Order” means the order that the Court enters upon

preliminarily approving the Telemarketing Settlement, the proposed form of which is attached

hereto as Exhibit 5. “Preliminary Approval” occurs on the date that the Court enters, without

material change, the Preliminary Approval Order.
               29.    “Redistribution” means monies that may be distributed as described in

Section III.G.2. below.

               30.    “Released Claims” means all claims to be released as set forth in Section

III.H of this Agreement. The “Releases” means all of the releases contained in Section III.H of

this Agreement.

               31.    “Released Parties” means those persons and entities released as set forth in

Section III.H of this Agreement.

               32.    “Releasing Parties” means Plaintiff and each and all Telemarketing

Settlement Class Members, on behalf of themselves and their respective spouses, heirs,

executors, administrators, representatives, agents, attorneys, partners, successors, predecessors-

in-interest, assigns, any other person or entity claiming through them and, if applicable, any

additional cardmember, co-signer, co-buyer or authorized user, as set forth in Section III.H of

this Agreement.

               33.    “Settlement Award” means a cash award that may be available to eligible

Telemarketing Settlement Class Members pursuant to Section III.F of this Agreement.

               34.    “Settlement Costs” means: (i) any award of attorneys’ fees and costs to

Class Counsel approved by the Court; (ii) any service awards to Plaintiff approved by the Court;

(iii) all costs of printing and providing notice to persons in the Telemarketing Settlement Class


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(including, but not limited to, costs for Direct Notice and Settlement Website and as agreed to by

the Parties); (iv) all costs of administering the Telemarketing Settlement through completion,

including, but not limited to, the cost of printing and mailing settlement payments (including the

cost of printing and mailing settlement payments following the redistribution of any amounts that

remain from uncashed checks, as set forth in Paragraph 10(b)), Claim Forms and opt-out

requests, the cost of obtaining and maintaining the URL for the Settlement Website, the cost of

maintaining a designated post office box for receiving Claim Forms and the costs of processing
opt-out requests; and (v) the fees, expenses and all other costs of the Claims Administrator

incurred through completion of the Telemarketing Settlement.

               35.    “Settlement Website” means the website established by the Claims

Administrator to aid in the administration of the Telemarketing Settlement.

               36.    “TCPA” means the Telephone Consumer Protection Act, 47 U.S.C. § 227,

et seq.

               37.    “Telemarketing Settlement” means the settlement which the Parties have

entered to resolve the Action and which is intended to resolve all Released Claims and all other

claims asserted in the Action by or on behalf of the Telemarketing Settlement Class. The terms

of the Telemarketing Settlement are set forth in this Agreement and the attached exhibits, which

are incorporated by reference herein.

               38.    “Telemarketing Settlement Class” means: “All persons nationwide within

the United States who, on or after July 3, 2009 through March 15, 2016, received a telemarketing

call from Alorica Inc. (or its agents or affiliates) on behalf of American Express, in connection

with the marketing of American Express small business charge and/or credit cards to potential

customers, to a cellular telephone number through the use of an automatic telephone dialing

system, predictive dialer and/or an artificial or prerecorded voice.”         Excluded from the

Telemarketing Settlement Class are the Judge to whom the Action is assigned and any member




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of the Judge’s staff and immediate family, as well as all persons who are validly excluded from

the Telemarketing Settlement Class.

                   39.    “Telemarketing Settlement Class Member” means any person in the

Telemarketing Settlement Class who is not validly excluded from the Telemarketing Settlement

Class.

                   40.    “Telemarketing Settlement Fund” means the amount of $8,250,000 to be

paid by American Express as set forth in this Agreement.
                   41.    “Toll-Free Settlement Hotline” means the toll-free telephone number

established by the Claims Administrator to aid in the administration of the Telemarketing

Settlement.

                   42.    “Website Notice” means the website notice provided pursuant to Section

III.E.2 of this Agreement, substantially in the form attached hereto as Exhibit 4. The Website

Notice will be posted on the “Settlement Website.”

III.     TERMS OF SETTLEMENT

              A.   Conditional Certification of the Telemarketing Settlement Class. Solely for the

  purposes of providing Class Notice and implementing the terms of this Agreement, the Parties

  agree to certification of the Telemarketing Settlement Class. If for any reason whatsoever this

  Telemarketing Settlement is not finalized or the Telemarketing Settlement as detailed in this

  Agreement is not finally approved by the Court, the certification of the Telemarketing

  Settlement Class shall be void and the Parties and the Action will return to the status quo as it

  existed prior to this Agreement, and no doctrine of waiver, estoppel or preclusion will be

  asserted in any proceedings, in response to any motion seeking class certification, any motion

  seeking to compel arbitration or otherwise asserted at any other stage of the Action or in any

  other proceeding. No agreements, documents or statements made by or entered into by any

  Party in connection with the Telemarketing Settlement may be used by Plaintiff, any person in

  the proposed Telemarketing Settlement Class, American Express or any other person to


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  establish liability, any defense and/or any of the elements of class certification, whether in the

  Action or in any other proceeding.

              B.   Preliminary Approval.

                   1.     Preliminary Approval Motion. On or before June 30, 2016, or by such

other date as agreed upon by the Parties and approved by the Court, Plaintiff will move the Court

for entry of the Preliminary Approval Order, which shall specifically include provisions that: (a)

preliminarily approve the Telemarketing Settlement reflected herein as fair, adequate and

reasonable to the Telemarketing Settlement Class, and within the reasonable range of possible

final approval; (b) conditionally certify the Telemarketing Settlement Class for settlement

purposes only and appoint Class Counsel as counsel for the Telemarketing Settlement Class for

settlement purposes only; (c) approve the forms of Class Notice and find that the Notice Program

constitutes the best notice practicable under the circumstances, provides due and sufficient notice

to the Telemarketing Settlement Class and fully satisfies the requirements of due process and

Federal Rule of Civil Procedure 23; (d) direct that notice be provided to the Telemarketing

Settlement Class, in accordance with this Agreement, within thirty (30) days following entry of

the Preliminary Approval Order (the “Notice Deadline”); (e) establish a procedure for

Telemarketing Settlement Class Members to object to the Telemarketing Settlement or exclude

themselves from the Telemarketing Settlement Class; (f) set a deadline sixty (60) days after the

Notice Deadline, after which no one shall be allowed to object to the Settlement or exclude

himself or herself from the Telemarketing Settlement Class or seek to intervene (the “Opt-Out

and Objection Deadline”); (g) approve the Claim Form and the claims process described herein;

(h) set the Claim Period for the submission of Claims to end ninety (90) days after the Notice

Deadline; (i) establish a deadline for Class Counsel to move the Court for an award of attorneys’

fees and costs to be paid to Class Counsel and for service awards to be paid to Plaintiffs; and (j)

schedule a hearing to consider Final Approval of the Telemarketing Settlement, which shall be

scheduled no earlier than thirty (30) days after the Opt-Out and Objection Deadline.


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                   2.     Stay/Bar of Proceedings. All proceedings in the Action will be stayed

following entry of the Preliminary Approval Order, except as may be necessary to implement the

Telemarketing Settlement or comply with the terms of the Telemarketing Settlement. Pending

determination of whether the Telemarketing Settlement should be granted final approval, the

Parties agree not to pursue any claims or defenses otherwise available to them, and further agree

that the Final Approval Order shall include an injunction that no person who has not opted out of

the Telemarketing Settlement Class and no person acting or purporting to act directly or on

behalf of a Telemarketing Settlement Class Member, or acting on a representative basis or in any

other capacity, will commence or prosecute against any of the Released Parties any action or

proceeding asserting any of the Released Claims. A similar injunction also must be included in

the Final Approval Order, to apply to all Telemarketing Settlement Class Members.
              C.   Settlement Consideration.

                   1.     The Telemarketing Settlement Fund.    Within thirty (30) days of the

Effective Date, as full and complete consideration for the Telemarketing Settlement, American

Express shall fund the Telemarketing Settlement Fund. The Claims Administrator shall maintain

the Telemarketing Settlement Fund in a segregated account at a financial institution with more

than $10 billion in assets in an account or accounts insured by an agency or agencies of the

United States government, with insurance that exceeds the amounts deposited.                  The

Telemarketing Settlement Fund shall be used to pay all of the following: (a) Settlement Costs;

(b) all Settlement Awards to claiming Telemarketing Settlement Class Members; and (c) any Cy

Pres distribution pursuant to Section G.3. The Telemarketing Settlement Fund, including any

interest, shall be reduced by the Settlement Costs prior to paying any Settlement Awards to

Telemarketing Settlement Class Members.           American Express’s obligation to fund the

Telemarketing Settlement Fund shall be reduced by American Express’s payment or

advancement of Settlement Costs prior to funding of the Telemarketing Settlement Fund, and

American Express shall receive full credit against its funding obligation for all such payments or


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advancements. In no event shall American Express’s total financial obligation with respect to

the Telemarketing Settlement exceed $8,250,000. American Express shall not, under any

circumstances, be obligated to pay any amounts in addition to the Telemarketing Settlement

Fund in connection with the Telemarketing Settlement.

                   2.     Return Of Telemarketing Settlement Fund In Event Of Termination. In

the event that the Telemarketing Settlement is not approved, or is terminated, canceled or fails to

become effective for any reason including, but not limited to, Section K.3 and/or K.4 below, the

money remaining in the Telemarketing Settlement Fund (including accrued interest), less

expenses and taxes incurred or due and owing and payable from the Telemarketing Settlement

Fund in accordance with this Agreement, shall be returned to American Express within 15 days

of the event that causes the Agreement to not become effective.
              D.   Claims Administrator. The Claims Administrator shall administer various aspects

  of the Telemarketing Settlement as described herein, and perform other functions assigned to

  the Claims Administrator elsewhere in this Agreement, including, but not limited to:

  effectuating the Notice Program pursuant to Section E; calculating the amount of the

  Settlement Awards and distributing the Telemarketing Settlement Fund pursuant to Section

  III.G; and, in the event of termination of the Telemarketing Settlement, returning the

  Telemarketing Settlement Fund pursuant to Section C.2, along with any accrued interest or

  earnings, to American Express. The duties of the Claims Administrator, in addition to other

  responsibilities that are described in this Agreement, are as follows:

                   1.     Obtain from American Express, on a confidential basis, the list of cellular

telephone numbers, for the period from July 3, 2009 through March 15, 2016, Alorica called in

connection with the marketing of American Express small business charge and/or credit cards to

potential customers, and who can be identified from Alorica’s reasonably available computerized

records and/or data;




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               2.     Perform reverse lookups as to any cellular telephone numbers that lack

demographic information to obtain current e-mail addresses and/or direct mailing addresses, and

update the addresses received through the National Change of Address database for the purpose

of providing the Notice and later mailing Settlement Awards;

               3.     Provide the Notice, as described herein and approved by the Court;

               4.     Establish and maintain a Post Office box for requests for exclusion from

the Telemarketing Settlement Class;
               5.     Establish and maintain the Settlement Website;

               6.     Establish and maintain an automated toll-free telephone line (which shall

not have live operators) for persons in the Telemarketing Settlement Class to call with, and/or to

leave questions or messages regarding, Settlement-related inquiries, to answer the questions of

persons who call with or otherwise communicate such inquiries (except that the Claims

Administrator shall not give, and shall not be expected to give, legal advice), and for persons in

the Telemarketing Settlement Class to submit Claims via an interactive, automated IVR system;

               7.     Process all claims and requests for exclusion from persons in the

Telemarketing Settlement Class;

               8.     Provide weekly reports and a final report to Class Counsel and American

Express’s Counsel that summarize the number of requests for exclusion received that period, the

total number of exclusion requests received to date and other pertinent information, including

claims information;

               9.     In advance of the Final Approval Hearing, prepare an affidavit to submit

to the Court that verifies that the Notice Program directed by the Court has been effectuated,

confirms the number of Valid Claims, and identifies each person in the Telemarketing Settlement

Class who timely and properly requested exclusion from the Telemarketing Settlement Class;

and




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                   10.   Facilitate and process the payment from the Telemarketing Settlement

Fund of the following:        (a) all Settlement Costs; (b) all Settlement Awards to claiming

Telemarketing Settlement Class Members; and (c) any Cy Pres Distribution.

              E.   Telemarketing Settlement Class Notice Program. The Notice Program will be

  comprised of Direct Notice and a Website Notice on the Settlement Website, as described

  below. The Notices provided under or as part of the Notice Program will not bear or include

  the American Express logo or trademarks (except for the abbreviation “American Express”),

  the return address of American Express, the American Express colors or otherwise be styled so

  as to appear to originate from American Express. The Claims Administrator shall, by the

  Notice Deadline, provide:
                   1.    E-mail or Mail Notice.     Within five (5) days following Preliminary

Approval, American Express will provide to the Claims Administrator the Class List identifying

the cellular telephone numbers identified from Alorica’s reasonably available computerized

records as belonging to possible Telemarketing Settlement Class Members, along with the name

of the person or entity associated with the cellular telephone numbers, as reflected in Alorica’s

records, as well as the associated mailing address and (if available) e-mail address. The Claims

Administrator will perform reverse look ups as to any cellular telephone numbers that lack

demographic information to obtain current e-mail addresses and/or direct mailing addresses in an

effort to identify persons in the Telemarketing Settlement Class and to determine their most

recent email and/or mailing address information. The Claims Administrator shall rely on e-mail

(“E-Mail Notice”) to notify persons in the Telemarketing Settlement Class; direct mail (“Mail

Notice”) may be used to provide notice if the Claims Administrator cannot locate an e-mail

address through the reverse lookup process, but is able to locate a mailing address, or if the

Claims Administrator learns that an e-mail was undeliverable. To the extent necessary, the

Claims Administrator will perform a search using the National Change of Address database and

update its records prior to mailing. The E-Mail Notice and Mail Notice shall be in the form


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attached hereto as Exhibits 2 and 3, respectively. The E-Mail Notice shall have a “return

receipt” or other such function that permits the Claims Administrator to reasonably determine

whether emails have been delivered and/or opened.        The E-Mail Notice also shall have a

hyperlink that Class Member recipients may click and be taken to a landing page on the

Settlement Website. The E-Mail and Mail Notice will include a Claim Form which may be

electronically submitted or mailed back to submit a claim upon the Telemarketing Settlement

Fund for a settlement award.      The E-Mail and Mail Notice will also include summary
information pursuant to FRCP 23(c)(2)(B) on how to obtain, and submit, the Claim Form and

also refer to the Toll-Free Settlement Hotline and the Settlement Website, which, as discussed

below, will include information regarding the Telemarketing Settlement and also provide for

online submission of the Claim Form and opt out requests.

              2.      Website Notice. The Claims Administrator will establish and maintain the

Settlement Website, using a domain name selected by American Express and subject to approval

by Class Counsel. If the selected URL for the Settlement Website is not available or is rejected

by the Court, a new URL will be selected and agreed upon by the Parties, and presented to the

Court for approval. The Settlement Website for the Telemarketing Settlement will be distinct

from the website for the Debt Collection Settlement. By clicking a link users will be directed to

the Website Notice in the form attached hereto as Exhibit 4, the Claim Form, a copy of this

Agreement, the Preliminary Approval Order and the operative Complaint, in addition to other

relevant case documents, will be available on the Settlement Website beginning five (5) days

following the entry of the Preliminary Approval Order and remain until the Effective Date. The

Settlement Website also shall provide for online submission of Claim Forms and provide for

persons in the Telemarketing Settlement Class to update their contact information. The Parties

agree that the selected domain name shall not include the name “American Express.” In

addition, the domain name shall not bear or include American Express’s or any of its parents’,

affiliates’ or subsidiaries’ logo or trademarks. The Parties agree that the Settlement Website


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shall not link to, or appear on, the website(s) of American Express and/or its parents, affiliates or

subsidiaries. The Claims Administrator shall maintain and renew ownership of the Settlement

Website URL for two (2) years post-Effective Date, after which the Claims Administrator shall

allow ownership of the Settlement Website URL to lapse.

                   3.    CAFA Notice.      American Express shall be responsible for timely

compliance with all CAFA notice requirements.

              F.   Settlement Awards.

                   1.    Awards. Each Telemarketing Settlement Class Member will be entitled to
make one claim upon the Telemarketing Settlement Fund for a settlement award per cellular

telephone number called, regardless of the number of calls the Telemarketing Settlement Class

Member received, which will be payable as a cash award, as described below.                    Each

Telemarketing Settlement Class Member who submits a valid claim (subject to Section G.2.

below) will be paid a Settlement Award on a pro rata basis, which shall be calculated by dividing

the amount remaining in the Telemarketing Settlement Fund (after deducting all Settlement

Costs) by the total number of valid claims (subject to Section G.2. below). If a Telemarketing

Settlement Class Member is also a Debt Collection Settlement Class Member and he or she

wishes to submit claims in both this Telemarketing Settlement and the Debt Collection

Settlement, he or she must submit separate claims pursuant to each settlement.

                   2.    Claims-Made Basis. Settlement Awards shall be made to eligible

Telemarketing Settlement Class Members on a claims-made basis. To make a claim for a

Settlement Award, Telemarketing Settlement Class Members must submit a valid and timely

Claim Form, which shall include: (a) the Telemarketing Settlement Class Member’s full name

and address; (b) the cell phone number at which Alorica (or any of its agents or entities)

allegedly contacted the Telemarketing Settlement Class Member; and (c) written, electronic, or

oral affirmation (for mailed Claim Forms, Claim Forms submitted via the Settlement Website, or

Claim Forms submitted via the Toll-Free Settlement Hotline, respectively) that the


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Telemarketing Settlement Class Member, on or after July 3, 2009 and on or before March 15,

2016, received a telemarketing call on behalf of American Express to the Telemarketing

Settlement Class Member’s cellular telephone number. The Claim Forms may be submitted to

the Claims Administrator by mail, via the Settlement Website or the Toll-Free Settlement

Hotline. Only one valid Claim Form will be honored per Telemarketing Settlement Class

Member per cellular telephone number called, regardless of the number of calls the

Telemarketing Settlement Class Member received. American Express shall have the right to
review and research the submitted Claim Forms and to suggest denial of claims if American

Express has a good faith belief that such claims are improper or fraudulent. Any suggestion of

denial of claims shall be provided to Class Counsel in writing. If the parties cannot agree upon

which claims should be denied then they shall submit the issue to the Court for determination at

final approval.

                   3.     Obligations of Telemarketing Settlement Class Members Unaffected By

Settlement. The Telemarketing Settlement shall not affirm, deny, increase, decrease, validate,

void or otherwise debts owed by Telemarketing Settlement Class Members to American Express.

All Telemarketing Settlement Class Members will remain fully obligated on any and all such

debts to the same extent as they are or would be if the Settlement never occurred. Any payments

issued pursuant to the Telemarketing Settlement will not re-start the statute(s) of limitations

applicable to the collection of any debts.

              G.   Distribution of Settlement Awards.

                   1.     Settlement Award Payments. Settlement Awards shall be paid by check.

The Claims Administrator shall mail, by first-class mail, a check to each eligible, claiming

Telemarketing Settlement Class Member receiving a check in payment of a Settlement Award

within 30 days after the Effective Date. The Claims Administrator will perform skip tracing and

re-mailing, as necessary; all costs of such work will be considered Settlement Costs. Checks will

be valid for 180 days from the date on the check.


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               2.      Redistribution. The amounts of any checks that remain uncashed more

than 180 days after the date on the check will be redistributed where the residual amount of

uncashed checks (net of anticipated administrative costs) exceeds $100,000, on a pro rata basis to

(i) the eligible Telemarketing Settlement Class Members who cashed their first check, and (ii)

Telemarketing Settlement Class Members who, prior to the first distribution of Settlement

Awards (discussed in G.1. above), submitted untimely, but otherwise valid Claims.

Telemarketing Settlement Class Members who do not cash their initial checks shall not be

eligible for any Redistribution. To the extent the residual amount of uncashed checks (net of

anticipated administrative costs) is less than $100,000, the residual amount shall be distributed as

part of the Cy Pres Distribution. No money remaining in the Telemarketing Settlement Fund

shall revert to or otherwise be paid to American Express.
               3.      Cy Pres Distribution.      If there is any money remaining in the

Telemarketing Settlement Fund after payment of the Settlement Costs, awards to Telemarketing

Settlement Class Members and any Redistributions, such monies will be distributed to non-profit

charitable organizations. The Cy Pres Distribution shall be made 240 days after completion of

the distribution of Settlement Awards or, if necessary, after all Redistributions have been

exhausted, whichever is later. The Parties shall agree upon the proposed recipient(s) of the Cy

Pres Distribution and shall submit a filing to the Court identifying such proposed recipient(s).

The Cy Pres Distribution shall be made equally among the recipients designated by the Parties,

subject to approval by the Court. If, for any reason, the Parties and/or the Court determine that

one or more proposed recipients are not or are no longer appropriate recipients, the Parties shall

agree on replacement recipient(s) of such monies, subject to Court approval. The Parties shall

agree that the designated Cy Pres recipient(s) shall confirm in writing that funds will not be used

for litigation or political advocacy, and that American Express’s name will not be used without

its consent.




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              H.   Releases.

                   1.     As of the Effective Date, Plaintiff and the Telemarketing Settlement Class

Members provide the following releases:

                   Plaintiff and each and all Telemarketing Settlement Class
                   Members, on behalf of themselves and their respective heirs,
                   executors, administrators, representatives, agents, attorneys,
                   partners, successors, predecessors-in-interest, assigns and any
                   authorized users of their accounts, will be deemed to have fully
                   released and forever discharged American Express Company,
                   American Express Centurion Bank, American Express Travel
                   Related Services Company, Inc. and Alorica Inc., and each and all
                   of its and their present, former and future direct and indirect parent
                   companies, affiliates, subsidiaries, agents, successors, and/or
                   predecessors in interest and all of the aforementioneds’ respective
                   officers, directors, employees, attorneys, shareholders, agents,
                   vendors and assigns (together, the “Released Parties”) from any
                   and all rights, duties, obligations, claims, actions, causes of action
                   or liabilities, whether arising under local, state or federal law,
                   whether by Constitution, statute, contract, rule, regulation, any
                   regulatory promulgation (including, but not limited to, any opinion
                   or declaratory ruling), common law or equity, whether known or
                   unknown, suspected or unsuspected, asserted or unasserted,
                   foreseen or unforeseen, actual or contingent, liquidated or
                   unliquidated, punitive or compensatory as of the date of
                   Preliminary Approval that arise out of or are related in any way to
                   the actual or alleged use by Alorica Inc., or its agents or affiliates,
                   of an artificial or prerecorded voice, predictive dialer and/or of any
                   automatic telephone dialing system (to the fullest extent that those
                   terms are used, defined or interpreted by the Telephone Consumer
                   Protection Act, 47 U.S.C. § 227, et seq., relevant regulatory or
                   administrative promulgations and case law) to make telemarketing
                   calls on behalf of American Express, including, but not limited to,
                   claims under or for violations of the Telephone Consumer
                   Protection Act, 47 U.S.C. § 227, et seq., and any other state or
                   federal statutory or analogous common law claim (including, but
                   not limited to, for invasion of privacy) arising from the use of
                   automatic telephone dialing systems, predictive dialer and/or an
                   artificial or prerecorded voice (the “Released Claims”) which have
                   accrued on or before through the date of Preliminary Approval.
        Without limiting the foregoing, the Released Claims specifically extend to claims that

Releasing Parties do not know or suspect to exist in their favor at the time that the Settlement and

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the releases contained therein become effective. This Paragraph constitutes a waiver of, without

limitation as to any other applicable law, Section 1542 of the California Civil Code, which

provides:
                   A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                   WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT
                   TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
                   EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
                   OR HER MUST HAVE MATERIALLY AFFECTED HIS OR
                   HER SETTLEMENT WITH THE DEBTOR.

        Plaintiff and the Telemarketing Settlement Class Members understand and acknowledge
the significance of the waiver of California Civil Code Section 1542 and/or any other applicable

federal or state statute, case law, rule or regulation relating to limitations on releases.       In

connection with such waivers and relinquishment, Plaintiff and the Telemarketing Settlement

Class Members acknowledge that they are aware that they may hereafter discover facts in

addition to, or different from, those facts which they now know or believe to be true with respect

to the subject matter of the settlement, but that it is their intention to release fully, finally and

forever all Released Claims, and in furtherance of such intention, the release of the Released

Claims will be and remain in effect notwithstanding the discovery or existence of any such

additional or different facts.

                   2.    Plaintiff also is a member of the class in the Debt Collection Settlement
and subject to the terms of the settlement agreement in the Debt Collection Settlement, including

specifically that Plaintiff is subject to the “Release” and hereby releases the “Released Claims”

as those terms are defined in the settlement agreement in the Debt Collection Case.

              I.   Attorneys’ Fees And Costs. Plaintiff shall move the Court for an award of

  attorneys’ fees and costs to be paid to Class Counsel from the Telemarketing Settlement Fund.

  American Express reserves the right to oppose such a motion and the amount requested. Class

  Counsel may receive payment of the fees and costs awarded by the Court within five (5)

  business days following the Effective Date and the Court’s entry of an order awarding fees and

  costs. Court approval of attorneys’ fees and costs, or their amount, will not be a condition of
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  the Telemarketing Settlement. In addition, no interest will accrue on such amounts at any time.

  Class Counsel agree to provide W-9’s and/or other documentation required by American

  Express to process and properly report to the taxing authorities any amounts paid.

              J.   Service Awards. Plaintiff shall move the Court for “Service Awards” to be paid

  out of the Telemarketing Settlement Fund, subject to Court approval.                 PLAINTIFF

  RECOGNIZES AND UNDERSTANDS THAT THE COURT MAY NOT APPROVE ANY

  SERVICE AWARD TO HER WHATSOEVER AND THAT HER SUPPORT OF THE

  TELEMARKETING SETTLEMENT IS IN NO WAY CONTINGENT ON ANY SERVICE

  AWARD. PLAINTIFF REPRESENTS AND WARRANTS THAT NO PROMISES OF ANY

  KIND HAVE BEEN MADE TO HER WITH RESPECT TO ANY SERVICE AWARD OR

  OTHERWISE. American Express shall not object to a Service Award to Plaintiff so long as

  such award does not exceed $10,000. Such Service Award shall be paid from the

  Telemarketing Settlement Fund and paid to Plaintiff at the same time as the attorneys’ fees and

  costs payments to Class Counsel. No interest shall accrue on such amounts at any time.

  Neither Court approval nor the amount of the Service Awards is a condition of the

  Telemarketing Settlement.
              K.   Opt-Out Right/Termination.

                   1.     Opt-Out Requirements. Persons in the Telemarketing Settlement Class

may request exclusion from the Telemarketing Settlement by sending a written request to the

Claims Administrator at the address designated in the Class Notice no later than the Opt-Out and

Objection Deadline. Exclusion requests must: (a) be personally signed by the person in the

Telemarketing Settlement Class who is requesting exclusion; (b) include the full name and

address of the person in the Telemarketing Settlement Class requesting exclusion; and (c)

include the following statement: “I/we request to be excluded from the Telemarketing Settlement

in the Callentine action.” No request for exclusion will be valid unless all of the information

described above is included. No person in the Telemarketing Settlement Class, or any person


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acting on behalf of or in concert or participation with that person (including, but not limited to,

an attorney) in the Telemarketing Settlement Class, may exclude any other person or any group

of persons from the Telemarketing Settlement Class.          If a Telemarketing Settlement Class

Member is also a Debt Collection Settlement Class Member and he or she wishes to opt out of

both or either of this Telemarketing Settlement and/or the Debt Collection Settlement, he or she

must submit separate exclusion requests pursuant to each settlement.

               2.      Retention of Exclusions. The Claims Administrator will retain a copy of

all requests for exclusion and will, upon written request, provide copies of any such requests to

counsel for the Parties. Class Counsel will keep any such opt-out information confidential and

use it only for purposes of determining whether a person in the Telemarketing Settlement Class

has properly opted out.
               3.      Right To Terminate For Excessive Opt-Outs.               All Telemarketing

Settlement Class Members will be bound by all determinations and judgments in the Action. In

the event that the number of persons in the Telemarketing Settlement Class who validly and

timely submit opt-out requests exceeds 500, American Express, in its sole discretion, retains the

right, but not the obligation, to terminate the Telemarketing Settlement. American Express shall

inform Class Counsel within thirty (30) days after it is advised in writing that the number of

valid opt-out requests is higher than 500 as to whether it will exercise the right of termination. In

the event that the Telemarketing Settlement is terminated pursuant to this provision, the Parties

will be returned to the status quo ante as if no settlement had been negotiated or entered into.

               4.      Right To Terminate For Lack Of Approval Of Debt Collection Settlement.

Approval of the Telemarketing Settlement is not contingent upon the approval of the Debt

Collection Settlement. However, American Express retains the right, but not the obligation, to

terminate the Telemarketing Settlement in the event the Debt Collection Settlement is not final.

In the event that the Telemarketing Settlement is terminated pursuant to this Agreement, the




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Parties will be returned to the status quo ante as if no settlement had been negotiated or entered

into.

              L.   Objections To The Telemarketing Settlement.

                   1.     Right To Object.   Any Telemarketing Settlement Class Member may

appear at the Final Approval Hearing to object to the proposed Telemarketing Settlement and/or

to the application of Class Counsel for an award of attorneys’ fees and costs and/or a Service

Award, but only if the Telemarketing Settlement Class Member has first filed a written objection

with the Clerk of Court, in accordance with the requirements set forth below, by the Opt-Out and

Objection Deadline. Any Telemarketing Settlement Class Member who does not provide a

written objection in the manner described in this Section shall be deemed to have waived any

objection and shall forever be foreclosed from making any objection to the fairness,

reasonableness, or adequacy of the Telemarketing Settlement or the award of any attorneys’ fees

and costs and/or Service Award. Further, any Telemarketing Settlement Class Member who

intends to appear at the Final Approval Hearing must file and serve on all parties a Notice of

Intention to Appear with the Court. If a Telemarketing Settlement Class Member is also a Debt

Collection Settlement Class Member and he or she wishes to object to both or either of this

Telemarketing Settlement and/or the Debt Collection Settlement, he or she must submit separate

objections pursuant to each settlement.

                   2.     Objection Requirements. To be heard at the Final Approval Hearing, the

Telemarketing Settlement Class Member must make any objection in writing and file it with the

Court by the Opt-Out and Objection Deadline. The objection must also be mailed to each of the

following, postmarked no later than the last day to file the objection: (a) Class Counsel – LIEFF

CABRASER HEIMANN & BERNSTEIN, LLP, Daniel M. Hutchinson, 275 Battery Street, 29th

Floor, San Francisco, CA 94111; and (b) American Express’s Counsel – Julia B. Strickland,

Stroock & Stroock & Lavan LLP, 2029 Century Park East, Los Angeles, California 90067. An

objection must: (a) attach documents establishing, or provide information sufficient to allow the


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Parties to confirm, that the objector is a Telemarketing Settlement Class Member, including

providing the cellular telephone number called; (b) include a statement of such Telemarketing

Settlement Class Member’s specific objections; (c) state the grounds for objection, including that

the objector is objecting to the Telemarketing Settlement, as well as identify any documents

which such objector desires the Court to consider; and (d) if the Telemarketing Settlement Class

Member is represented by an attorney, list all other cases in which the Class Member has filed an

objection.

              M.   Final Approval. Following completion of the Class Notice process and within 30
  days following expiration of the Opt-Out and Objection Period, Plaintiff shall request that the

  Court enter the Final Approval Order in the form attached hereto as Exhibit 6, which shall

  specifically include provisions that: (a) finally approve the Telemarketing Settlement as fair,

  reasonable and adequate to the Telemarketing Settlement Class; (b) find that the Class Notice

  as given was the best notice practicable under the circumstances, is due and sufficient notice to

  the Telemarketing Settlement Class, and fully satisfies the requirements of due process and

  Federal Rule of Civil Procedure 23; (c) approve the plan of distribution for the Telemarketing

  Settlement Fund and any interest accrued thereon; (d) finally certify the Telemarketing

  Settlement Class; (e) confirm that the Releasing Parties have released all Released Claims and

  are permanently barred and enjoined from asserting, commencing, prosecuting, or continuing

  any of the Released Claims against the Released Parties; and (f) dismiss the Action with

  prejudice, without costs to any party, except as provided in this Agreement, and subject to the

  Court retaining continuing jurisdiction over the Parties and the Telemarketing Settlement Fund

  for the purpose of enforcement of the terms of this Agreement.

              N.   Dismissal. Upon entry of the Final Approval Order, the Action shall be dismissed

  with prejudice as to Plaintiff and all Telemarketing Settlement Class Members.

              O.   Participation In Telemarketing Settlement Has No Effect On Right To Participate

  In Debt Collection Settlement. Being a Debt Collection Settlement Class Member, submitting


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  a claim in the Debt Collection Settlement, opting out of the Debt Collection Settlement or

  objecting to the Debt Collection Settlement does not prohibit the Telemarketing Settlement

  Class Member from submitting a claim, opting out or objecting with respect to this

  Telemarketing Settlement.

              P.   No Admissions.   American Express expressly disclaims and denies any

  wrongdoing or liability whatsoever. The American Express TCPA Settlements, and any and

  all negotiations, statements, documents, and/or proceedings in connection with the American

  Express TCPA Settlements, shall not be construed or deemed to be evidence of an admission

  or concession by the Released Parties of any liability or wrongdoing and shall not be construed

  or deemed to be evidence of an admission or concession that any person suffered compensable

  harm or is entitled to any relief. Neither the American Express TCPA Settlements, nor any act

  performed or document executed pursuant to or in furtherance of the American Express TCPA

  Settlements: (a) is or may be deemed to be or may be used as an admission of, or evidence of,

  the validity of any Released Claim, or of any wrongdoing by or liability of the Released

  Parties; (b) is or may be deemed to be or may be used in any civil, criminal or administrative

  proceeding in any court, administrative agency or other tribunal as an admission or evidence of

  any fault or omission of the Released Parties; or (c) is or may be deemed to be a waiver of

  American Express’s right to seek to enforce any arbitration provision in other cases or against

  persons in the Telemarketing Settlement Class who opt out of the American Express TCPA

  Settlements. In addition, neither the fact of, nor any documents relating to, American Express’

  withdrawal from the American Express TCPA Settlements, any failure of the Court to approve

  the American Express TCPA Settlements and/or any objections or interventions may be used

  as evidence for any purpose whatsoever.       The Released Parties may file the Settlement

  Agreement and/or the judgment in any action or proceeding that may be brought against them

  in order to support a defense or counterclaim based on principles of res judicata, collateral




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  estoppel, release, good faith settlement, judgment bar or reduction or any other theory of claim

  preclusion or issue preclusion or any other defense or counterclaim.

              Q.   No Publicity Beyond Notice Procedures. Unless the Parties agree otherwise in

  writing, and with the exception of a notation of the existence of the settlement on Class

  Counsel’s respective websites and/or firm resumes, Class Counsel and/or Plaintiff agree not to

  issue press releases or initiate any public statements regarding the American Express TCPA

  Settlements, with the exception of the Notices. No party shall make any statements of any kind

  to any third party regarding the American Express TCPA Settlements prior to filing a motion

  for preliminary approval with the Court, with the exception of the Claims Administrator. The

  Parties may make public statements to the Court as necessary to obtain preliminary or final

  approval of the American Express TCPA Settlements and Class Counsel will not be prohibited

  from communicating with any person in the Telemarketing Settlement Class regarding the

  Action or the American Express TCPA Settlements. In all communications, all Parties must

  comply with all confidentiality agreements in the Action and not disclose information that is

  not a part of the public record. All Parties shall refrain from disparaging any of the other

  parties or counsel publicly or taking any public action designed or reasonably foreseeable to

  cause harm to the public perception of any of the Released Parties or counsel regarding any

  issue related in any way to the Action or the American Express TCPA Settlements.

IV.     GENERAL PROVISIONS

              A.   Settlement Conditioned Upon Approval.      The Telemarketing Settlement is

  conditioned upon entry of the Preliminary Approval Order and Final Approval Order without

  material modification by the Court. In the event of failure to obtain any of the required

  provisions of such orders, including, but not limited to, the denial of any motion seeking

  preliminary or final approval, the Parties will return, without prejudice, to the status quo ante

  as if no Telemarketing Settlement had been negotiated or entered into and this Agreement, the

  Telemarketing Settlement and their existence shall be inadmissible to establish any fact


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  relevant to any alleged liability of the Released Parties for the matters alleged in the Action or

  for any other purpose.

              B.   Evidentiary Preclusion. In order to support a defense or counterclaim based on

  principles of res judicata, collateral estoppel, release, good faith settlement, judgment bar or

  reduction or any other theory of claim preclusion or issue preclusion or similar defense or

  counterclaim, the Released Parties may file the Settlement Agreement and/or the judgment in

  any action or proceeding that may be brought against them.

              C.   Confidentiality. The terms of this Telemarketing Settlement, including the fact of
  the proposed Telemarketing Settlement, shall remain completely confidential until all

  documents are executed and a motion for preliminary approval of the Telemarketing

  Settlement is filed with the Court; provided, however, that the Parties may jointly report the

  pendency of the mediation and/or Settlement to the Court in the Action, and to potential claims

  administrators.      American Express may, at its sole discretion, disclose the terms of this

  Telemarketing Settlement to its auditors and other parties as reasonably necessary to maintain

  normal business operations and have the Telemarketing Settlement internally effectuated.

              D.   Future Changes In Laws Or Regulations. To the extent Congress, the Federal

  Communications Commission or any other relevant regulatory authority promulgates different

  requirements under the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq., or any

  other law or regulatory promulgation that would govern any conduct affected by the

  Settlement, those laws and regulatory provisions shall control. However, the Parties agree that

  changes in law shall not provide any basis for any attempt to alter, modify or invalidate this

  Agreement.

              E.   Destruction of Confidential Documents. It is agreed that the originals and all

  copies of all confidential documents and/or information subject to all confidentiality

  agreements and the Protective Order (“Confidential Material”) shall be returned to the

  producing party or destroyed within sixty (60) days after the Effective Date. To the extent


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  provided to Plaintiff, this obligation extends to the list of phone numbers identified by Alorica

  as belonging to possible members of the Telemarketing Settlement Class.

              F.   No Construction Against Drafter. This Settlement Agreement will be deemed to

  have been drafted by the Parties, and any rule that a document shall be interpreted against the

  drafter will not apply.

              G.   Entire Agreement. This Agreement contains the entire agreement between the

  Parties and supersedes all prior understandings, agreements, or writings regarding the subject

  matter of this Agreement. This Agreement may be amended or modified only by a written

  instrument signed by all Parties or their successors in interest or their duly authorized

  representatives and approved by the Court. The provisions of the Agreement may be waived

  only in a writing executed by the waiving party. The waiver by one party of any breach of this

  Agreement by any other party shall not be deemed a waiver, by that party or by any other

  party, of any other prior or subsequent breach of this Agreement.
              H.   Authority. Plaintiff and American Express represent and warrant that the persons

  signing this Agreement on their behalf have full power and authority to bind every person,

  partnership, corporation, or entity included within the definitions of Plaintiff and American

  Express to all terms of this Agreement.           Any person executing this Agreement in a

  representative capacity represents and warrants that he or she has done so freely and he or she

  is fully authorized to do so and to bind the Party on whose behalf he or she signs this

  Agreement to all of the terms and provisions of this Agreement.

              I.   No Assignment. No party to this Agreement has heretofore assigned, transferred,

  or granted, or purported to assign, transfer, or grant, any of the claims, demands, or cause or

  causes of action disposed of by this Agreement.

              J.   Receipt of Advice of Counsel. Each Party acknowledges, agrees and specifically

  warrants that he, she or it has fully read this Agreement and the Releases contained herein,

  received independent legal advice with respect to the advisability of entering this Agreement


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  and the Releases, and the legal effects of this Agreement and the Releases, and fully

  understands the effect of this Agreement and the Releases. Each Party to this Agreement

  warrants that he, she, or it is acting upon his, her or its independent judgment and upon the

  advice of his, her, or its own counsel and not in reliance upon any warranty or representation,

  express or implied, of any nature or kind by any other party, other than the warranties and

  representations expressly made in this Agreement.

              K.   Agreement Binding on Successors in Interest. This Agreement is binding on and

  shall inure to the benefit of the respective heirs, successors and assigns of the Parties.
              L.   Execution In Counterparts.    The Parties may execute this Agreement in any

  number of counterparts, each of which shall be deemed an original, but all of which together

  shall constitute one and the same instrument.

              M.   Notices. All notices to counsel provided for herein shall be sent by e-mail with a

  hard copy sent by overnight mail to:




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    As to Plaintiff and the Telemarketing Settlement         As to American Express:
    Class:
                                                             STROOCK & STROOCK & LAVAN LLP
    BURKE LAW OFFICES, LLC                                   Julia B. Strickland
    Alexander H. Burke                                       jstrickland@stroock.com
    155 N. Michigan Ave., Suite 9020                         Marcos D. Sasso
    Chicago, IL 60601                                        msasso@stroock.com
                                                             2029 Century Park East
    SMITHMARCO                                               Los Angeles, CA 90067-3086
    Larry P. Smith
    205 North Michigan Ave., Suite 2940
    Chicago, IL 60601

    LIEFF CABRASER HEIMANN & BERNSTEIN,
    LLP
    Daniel M. Hutchinson
    275 Battery Street, 29th Floor
    San Francisco, CA 94111

    MEYER WILSON CO., LPA
    Matthew R. Wilson
    1320 Dublin Road, Ste. 100
    Columbus, OH 43215

    KEOGH LAW, LTD.
    Keith Keogh
    55 W. Monroe, Ste. 3390
    Chicago, IL 60603


              N.   Retention of Jurisdiction. The Court shall retain jurisdiction with respect to

  implementation and enforcement of the terms of this Agreement, and all Parties submit to the

  jurisdiction of the Court for purposes of implementing and enforcing the Telemarketing

  Settlement embodied in this Agreement.

              O.   Retention of Rights Regarding Telemarketing Settlement Fund. Notwithstanding

  American Express’s agreement to fund the full Telemarketing Settlement Fund as set forth in

  this Agreement, American Express does so with full reservation of its rights to indemnity,

  contribution and/or apportionment from Alorica, any insurer of Alorica and/or any other person

  from whom Alorica is entitled to indemnity. By entering into the Agreement, American


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                                   EXHIBIT 1

                                 CLAIM FORM




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                                          EXHIBIT 1
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                           Ossola, et al. v. American Express Company, et al., U.S.D.C.
                               Northern District of Illinois, Case No. 13-cv-04836

________________, Claims Administrator                          Toll-Free Number: x-xxx-xxx-xxxx
PO Box [____________]                                                    Website: www.xxxxxxxxxxxxxxx.com
[__________________]

<<mail id>>
<<Name1>>
<<Name2>>
<<Address1>>
<<Address2>>
<<City>><<State>><<Zip>>

                                                         CLAIM FORM
        TO RECEIVE BENEFITS FROM THE TELEMARKETING SETTLEMENT, YOU MUST PROVIDE
 ALL OF THE INFORMATION BELOW AND YOU MUST COMPLETE THE AFFIRMATION. IF THIS CLAIM FORM
               IS SUBMITTED ONLINE, YOU MUST SUBMIT AN ELECTRONIC SIGNATURE.

                YOUR CLAIM FORM MUST BE SUBMITTED ON OR BEFORE ___________________.

1.   CLAIMANT INFORMATION:

     __________________________ ________________              ______________________________________________
     FIRST NAME                 MIDDLE NAME                   LAST NAME

     ___________________________________________________________________________________________
     ADDRESS 1

     ___________________________________________________________________________________________
     ADDRESS 2

     ________________________________________________________                  ______     ____________ - __________
     CITY                                                                      STATE          ZIP         (optional)

     ________________________________________________________                  _________________________________
     TELEPHONE NUMBER(S) (where you received call(s))                             E-MAIL ADDRESS (optional)

     ___________________________________________________________________________________________
     CLASS MEMBER ID (if known)


2.   AFFIRMATION:

          By checking this box and submitting this Claim Form, I certify that the information above is true and accurate and that, on
or after July 3, 2009 through March 15, 2016, I received a telemarketing call from Alorica Inc. (“Alorica”) on behalf of American
Express to my cellular telephone number without my prior consent. This Claim Form may be researched and verified by American
Express and/or the Claims Administrator.


         Date: ______________________________________________

              QUESTIONS? VISIT www.xxxxxxxxxxxxxxxxxxx.com OR CALL [_________]




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                                   EXHIBIT 2

                                 MAIL NOTICE




LA 51998058
        Ossola, et al. v. American Express Company, et                                  FIRST-CLASS
                                                                                         MAIL U.S.
ase:    al. Settlement
       1:13-cv-04836        Document #: 368-1 Filed:           11/16/16 Page 39 of 80 PageID #:55
                                                                                       POSTAGE PAID
        c/o [CLAIMS ADMINISTRATOR]                                                      PERMIT NO
        [ADDRESS]                                                                          1234
        [ADDRESS]
          NOTICE OF CLASS ACTION LAWSUIT
          AND PROPOSED SETTLEMENT

            THE COURT AUTHORIZED THIS
          NOTICE. THIS IS NOT A SOLICITATION
                   FROM A LAWYER.

              YOU MAY RECEIVE MONEY FROM
                     A SETTLEMENT.

          •     If you received automated telephone calls
                from Alorica about marketing of American
                Express small business charge cards on           John Q. Sample, Jr.
                your cell phone between July 3, 2009             123 Main Street
                through March 15, 2016 your rights may be
                affected by this class action settlement.        Apt. #4
          •     Plaintiff claims that these calls were           New York, NY 12345-6789
                improper. The court has not decided who is
                right or wrong. Instead the parties have
                agreed to settle the case to avoid the risk
                and cost associated with further litigation.
          •     Eligible class members who submit a valid
                claim form will receive a payment from the
                $8,250,000 settlement fund.
          •     Go to [WEBSITE] for more details.
    Class Member ID: _______________                                        from this settlement if you exclude yourself. The Court will exclude
    What is this? This is a notice of a proposed settlement in a class      any class member who properly requests exclusion by sending a letter
ase: 1:13-cv-04836 Document #: 368-1 Filed: 11/16/16 Page 40 of 80 PageID #:55
    action lawsuit, Ossola v. American Express Co., et al., U.S.D.C.,
    Northern District of Illinois, Case No. 13-cv-4836. This notice
                                                                            requesting exclusion to the Settlement Administrator at the address on
                                                                            this postcard by [INSERT DATE] at the address below. That request
    explains your legal rights.                                             must contain your name, address, signature and a statement that you
                                                                            wish to be excluded from the settlement.
    What is this lawsuit about? The lawsuit alleges that between July 3,
    2009 and March 15, 2016, Alorica Inc. (“Alorica”) used an automatic     If I don’t like something about the settlement, how do I tell the
                                                                            Court? If you don’t exclude yourself from the Telemarketing
    telephone dialing system and/or an artificial or prerecorded voice to   Settlement, you can object to any part of the Telemarketing
    place non-emergency telemarketing phone calls to cell phones            Settlement. You must mail your written objection to the Court, Class
    regarding the marketing of American Express small business charge       Counsel and American Express’s counsel by [INSERT DATE]. You
    and/or credit cards to potential customers. The lawsuit claims that     may enter an appearance through an attorney if you wish, but you do
    these calls violated a law called the Telephone Consumer Protection     not have to. Complete details about how to object are on the
    Act and were made without the prior express consent of the persons      Settlement Website.
    called.    American Express Company and American Express                What if I do nothing? You will not be eligible for a payment. All
    Centurion Bank (together, “American Express”) deny these                Class Members who do not opt out will be bound by the
    allegations and any wrongdoing. The Court has not ruled on the          Telemarketing Settlement and the decisions of the Court, and will
    merits of Plaintiff’s claims or American Express’s defenses.            release American Express and Alorica from liability for the calls.
    Why am I getting this notice? You were identified as someone who        When is the Final Approval Hearing? The Court will hold a
    may be a member of the Telemarketing Settlement Class.                  hearing in this case to consider whether to approve the Telemarketing
                                                                            Settlement on ____________, at _____, United States District Court,
    What does the settlement provide? American Express has agreed           219 South Dearborn Street, Chicago, Illinois, 60604. You may go to
    to pay a total of $8,250,000 into a Settlement Fund. The Settlement     the hearing, but you do not have to.
    Fund will pay cash awards to Class Members who file a valid claim,      How do I get more information about the settlement? This notice
    pay Class Counsel’s attorneys’ fees and costs of up to $2,750,000       contains limited information about the Telemarketing Settlement. For
    (subject to Court approval), pay Plaintiff’s service award of $10,000   more information, to view additional settlement documents, and to
    (subject to Court approval), pay settlement administration costs, and   review information regarding your exclusion and objection rights and
    possibly pay a charitable contribution to _______ in the amount of      the final approval hearing, visit [INSERT URL], or call 1-800-***-
    any uncashed checks.                                                    ****.
    Can I get money from the settlement? Yes, each Class Member
    who submits a valid and timely Claim Form will receive a cash              [INSIDE FRONT]
    award. How much each Class Member receives will depend on how
    many people make claims that are approved. Class Counsel
    estimates that the amount will be at least $50.
    How do I get a payment? You must complete and submit a valid
    Claim Form by [INSERT DATE]. The Claim Form is enclosed and
    available online at [INSERT URL]. You can also get a Claim Form
    mailed to you by calling the Settlement Administrator at 1-800-***-
    ****. You can submit your Claim Form by mailing it to the
    Settlement Administrator at the address below or online at [INSERT
    URL].
    Do I have to be included in the settlement? If you don’t want to
    receive money from this settlement and you want to keep the right to
    sue or continue to sue American Express on your own, then you must
    exclude yourself from the settlement. You will not get any money
       FROM:   ____________________
ase: 1:13-cv-04836     Document #: 368-1 Filed: 11/16/16 Page 41 of 80 PageID #:55
             ___________________________
               ___________________________
                                                                Place
                                                                Stamp
                                 Mail To:                        Here
                                 Ossola v. American Express
                                 Company et al. Settlement
                                 c/o [CLAIMS ADMINISTRATOR]
                                 [ADDRESS]
                                 [ADDRESS]
                                                       CLAIM FORM
                       TO RECEIVE BENEFITS FROM THE TELEMARKETING SETTLEMENT, YOU MUST PROVIDE
ase: 1:13-cv-04836 Document #: 368-1 Filed: 11/16/16 Page 42 of 80 PageID #:55
         ALL OF THE INFORMATION BELOW AND YOU MUST COMPLETE THIS AFFIRMATION. IF THIS CLAIM FORM IS SUBMITTED
                                   ONLINE, YOU MUST SUBMIT AN ELECTRONIC SIGNATURE.

                                YOUR CLAIM FORM MUST BE SUBMITTED ON OR BEFORE [INSERT DATE]
         (Claimants with privacy concerns may submit their claim online, or may mail this card in an envelope to the same address)

    1.      CLAIMANT INFORMATION:

            __________________________ ________________             ______________________________________________
            FIRST NAME                   MIDDLE NAME                  LAST NAME

            ___________________________________________________________________________________________
            ADDRESS 1

            ___________________________________________________________________________________________
            ADDRESS 2

            ________________________________________________________                 ______     ____________ - __________
            CITY                                                                     STATE       ZIP            (optional)
            ________________________________________________________                 _________________________________
            TELEPHONE NUMBER(S) (where you received call(s))                         E-MAIL ADDRESS (optional)

            _________________________________________________________________________________________
            CLASS MEMBER ID (if known)

    2.      AFFIRMATION:

                  By checking this box and submitting this Claim Form, I certify that the information above is true and accurate and that, on or
    after July 3, 2009 through March 15, 2016, I received a telemarketing call from Alorica, Inc. (“Alorica”) on behalf of American Express to
    my cellular telephone number without my prior consent. This Claim Form may be researched and verified by American Express and/or
    the Claims Administrator.

                 Date: ______________________________________________

                                QUESTIONS? VISIT [INSERT URL] OR CALL [INSERT TOLL-FREE NUMBER]
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                                   EXHIBIT 3

                                E-MAIL NOTICE




                                       35

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EXHIBIT 3

       NOTICE OF CLASS ACTION LAWSUIT AND PROPOSED SETTLEMENT
THE COURT AUTHORIZED THIS NOTICE. THIS IS NOT A SOLICITATION FROM A LAWYER.

                      YOU MAY RECEIVE MONEY FROM A SETTLEMENT.

•   If you received automated telephone calls from Alorica about marketing of American Express
    small business charge cards on your cell phone between July 3, 2009 through March 15, 2016,
    your rights may be affected by this class action settlement.
•   Plaintiff claims that these calls were improper. The court has not decided who is right or
    wrong. Instead the parties have agreed to settle the case to avoid the risk and cost associated
    with further litigation.
•   Eligible class members who submit a valid claim form will receive a payment from the
    $8,250,000 settlement fund.
•   Go to [WEBSITE] for more details.

What is this? This is a notice of a proposed settlement in a class action lawsuit, Ossola v. American
Express Co., et al., U.S.D.C., Northern District of Illinois, Case No. 13-cv-4836. This notice explains
your legal rights.

What is this lawsuit about? The lawsuit alleges that between July 3, 2009 and March 15, 2016,
Alorica Inc. (“Alorica”) used an automatic telephone dialing system and/or an artificial or prerecorded
voice to place non-emergency telemarketing phone calls to cell phones regarding the marketing of
American Express small business charge and/or credit cards to potential customers. The lawsuit claims
that these calls violated a law called the Telephone Consumer Protection Act and were made without
the prior express consent of the persons called. American Express Company and American Express
Centurion Bank (together, “American Express”) deny these allegations and any wrongdoing. The
Court has not ruled on the merits of Plaintiff’s claims or American Express’s defenses.

Why am I getting this notice? You were identified as someone who may be a member of the
Telemarketing Settlement Class.

What does the settlement provide? American Express has agreed to pay a total of $8,250,000 into a
Settlement Fund. The Settlement Fund will pay cash awards to Class Members who file a valid claim,
pay Class Counsel’s attorneys’ fees and costs of up to $2,750,000 (subject to Court approval), pay
Plaintiff’s service award of $10,000 (subject to Court approval), pay settlement administration costs,
and possibly pay a charitable contribution to _______ in the amount of any uncashed checks.

Can I get money from the settlement? Yes, each Class Member who submits a valid and timely
Claim Form will receive a cash award. How much each Class Member receives will depend on how
many people make claims that are approved. Class Counsel estimates that the amount will be at
least $50.

How do I get a payment? You must complete and submit a valid Claim Form by [INSERT DATE].
The Claim Form is enclosed and available online at [INSERT URL]. You can also get a Claim Form
mailed to you by calling the Settlement Administrator at 1-800-***-****. You can submit your Claim
Form by mailing it to the Settlement Administrator at the address below or online at [INSERT URL].

Do I have to be included in the settlement? If you don’t want to receive money from this settlement
and you want to keep the right to sue or continue to sue American Express on your own, then you must
exclude yourself from the settlement. You will not get any money from this settlement if you exclude
yourself. The Court will exclude any class member who properly requests exclusion by sending a letter
requesting exclusion to the Settlement Administrator at the address on this postcard by [INSERT



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EXHIBIT 3

DATE] at the address below. That request must contain your name, address, signature and a statement
that you wish to be excluded from the settlement.

If I don’t like something about the settlement, how do I tell the Court? If you don’t exclude
yourself from the Telemarketing Settlement, you can object to any part of the Telemarketing
Settlement. You must mail your written objection to the Court, Class Counsel and American Express’s
counsel by [INSERT DATE]. You may enter an appearance through an attorney if you wish, but you
do not have to. Complete details about how to object are on the Settlement Website.

What if I do nothing? You will not be eligible for a payment. All Class Members who do not opt out
will be bound by the Telemarketing Settlement and the decisions of the Court, and will release
American Express and Alorica from liability for the calls.

When is the Final Approval Hearing? The Court will hold a hearing in this case to consider whether
to approve the Telemarketing Settlement on ____________, at _____, United States District Court, 219
South Dearborn Street, Chicago, Illinois, 60604. You may go to the hearing, but you do not have to.

How do I get more information about the settlement? This notice contains limited information about
the Telemarketing Settlement. For more information, to view additional settlement documents, and to
review information regarding your exclusion and objection rights and the final approval hearing, visit
[INSERT URL], or call 1-800-***-****.




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                                   EXHIBIT 4


                               WEBSITE NOTICE




LA 51988254
LA 51998058
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                      Ossola, et al. v. American Express Company, et al.,
               United States District Court for the Northern District of Illinois,
                                       Case No. 13-cv-4836

        If you received automated calls to your cell phone on behalf of American Express
  from July 3, 2009 through March 15, 2016, you may be entitled to benefits under a class
                                   action settlement.

          A federal court authorized this Notice. This is not a solicitation from a lawyer.

    •   This notice concerns the Telemarketing Settlement that resolves claims in the
        lawsuit Ossola v. American Express Co., et al., U.S.D.C., Northern District of Illinois,
        Case No. 13-cv-4836.

    •   The Telemarketing Settlement will provide a total of $8,250,000 (the
        “Telemarketing Settlement Fund”) to fully settle and release claims of persons to
        whom calls were placed to their cell phones by Alorica Inc. (“Alorica”) on behalf of
        American Express using an automatic telephone dialing system or prerecorded or
        artificial voice during the time period set forth above, where the call was regarding
        marketing of American Express small business charge and/or credit cards to
        potential customer (the “Telemarketing Settlement Class”).

    •   Plaintiff Joetta Callentine (“Plaintiff”) alleges that these calls violated the federal
        Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).
        America Express Company and American Express Centurion Bank (together,
        “American Express”) and its vendor, Alorica, deny Plaintiff’s allegations and deny
        any wrongdoing whatsoever. By entering into the Telemarketing Settlement,
        American Express has not conceded the truth or validity of any of the claims against
        it.

    •   The Telemarketing Settlement Fund shall be used to pay all amounts related to the
        Telemarketing Settlement, including awards to Telemarketing Settlement Class
        Members who submit a valid and timely claim form to receive payment (“Claim
        Form”), attorneys’ fees and costs to attorneys representing Plaintiff and the
        Telemarketing Settlement Class (“Class Counsel”), any service award to Plaintiff
        and the costs of notice and administration of the Telemarketing Settlement. Monies
        remaining in the Telemarketing Settlement Fund if checks are uncashed will be
        distributed to ____ , a charity approved by the Court only if subsequent
        distributions to Telemarketing Settlement Class Members are not economically
        feasible. No amount of the Telemarketing Settlement Fund will revert to American
        Express.

    •   Your rights and options relating to the Telemarketing Settlement, and the deadlines
        to exercise them, are explained in this Notice. Your legal rights are affected whether
        you act or don’t act. Read this Notice carefully.


                      YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:



                      QUESTIONS? CALL 1-__________ TOLL-FREE, OR VISIT _______
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                                          EXHIBIT 4

                                If you are eligible to submit a Claim and submit a valid Claim
                                Form by _____, you will receive a payment and will give up your
    SUBMIT A CLAIM              rights to sue American Express, Alorica and/or any other released
    FORM                        parties on a released claim. Claim Forms may be submitted by
                                mail to _________________, through the settlement website by
                                clicking _____ or by calling ___________.



                                If you ask to be excluded, you will not receive a payment.
    EXCLUDE YOURSELF            This is the only option that allows you to pursue your own
    OR “OPT-OUT” OF THE         claims against American Express, Alorica and/or other
    SETTLEMENT                  released parties in the future. The deadline for excluding
                                yourself is ______.



                                Write to the Court about why you believe the settlement is unfair
                                in any respect. The deadline for objecting is ______. To obtain a
                                benefit from the Telemarketing Settlement, you must still submit
    OBJECT TO THE
                                a Claim Form. If you submit only an objection, you will not
    SETTLEMENT
                                receive any benefit from the Telemarketing Settlement and you
                                will give up your rights to sue American Express, Alorica and/or
                                any other released parties on a released claim.



                                If you do nothing, you will not receive any monetary award and
    DO NOTHING                  you will give up your rights to sue American Express and/or any
                                other released parties on a released claim.


                                Ask to speak in Court about the fairness of the Telemarketing
    GO TO THE FINAL             Settlement. To speak at the Final Approval Hearing, you must
    APPROVAL HEARING            file a document which complies with the requirements set forth on
                                the Settlement Website.


    •   These rights and options—and the deadlines to exercise them—are explained in this
        Notice.

    •   The Court still has to decide whether to approve the Telemarketing Settlement. Payments
        will be made if the Court approves the Telemarketing Settlement and after any appeals
        are resolved. Please be patient.
                           THIS NOTICE CONTAINS




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                                        EXHIBIT 4
                                   BASIC INFORMATION

 1. What is the purpose of this Notice?

The purpose of this Notice is to inform you that a proposed Telemarketing Settlement has been
reached in the lawsuit entitled Ossola, et al. v. American Express Company, et al., U.S.D.C.
Northern District of Illinois, Case No. 13-cv-4836 (N.D. Il.). Because your rights will be
affected by this Settlement, it is extremely important that you read this Notice carefully.

 2. What does it mean if I received an email or postcard about this settlement?

 If you received an email or postcard describing the Telemarketing Settlement, it is because
 Alorica’s records indicate that you may be a member of the Telemarketing Settlement Class in
 this action.

 3. What is this class action lawsuit about?

 In a class action, one or more people called class representatives (here, Plaintiff) sue on behalf
 of people who allegedly have similar claims. This group is called a class and the persons
 included are called class members. One court resolves the issues for all of the class members,
 except for those who exclude themselves from the class.

 Here, Plaintiff claims American Express and its vendor, Alorica, violated the TCPA by having
 Alorica place calls on behalf of American Express to cellular telephones between July 3, 2009
 and March 15, 2016, through the use of an automatic telephone dialing system, predictive dialer
 or an artificial or prerecorded voice without prior express consent. American Express denies
 these allegations and denies any claim of wrongdoing. The Court has conditionally certified the
 Telemarketing Settlement Class for settlement purposes only. The Honorable John Z. Lee is in
 charge of this action.

 4. Why is there a settlement?

 The Court has not decided in favor of Plaintiff or American Express. Instead, both sides agreed
 to the Telemarketing Settlement, thereby avoiding the risk and cost of further litigation and
 ensuring Telemarketing Settlement Class Members will receive some compensation for their
 claims. Plaintiff and Class Counsel think the Telemarketing Settlement is best for all persons in
 the Telemarketing Settlement Class.

              WHO IS IN THE TELEMARKETING SETTLEMENT CLASS?

 5. How do I know if I am a part of the Telemarketing Settlement Class?

The Court has certified a Telemarketing Settlement Class for settlement purposes only. The
Telemarketing Settlement Class is defined as:

        All persons nationwide within the United States who, on or after July 3, 2009 through
        March 15, 2016, received a telemarketing call from Alorica Inc. (or its agents or


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                                              EXHIBIT 4
        affiliates) on behalf of American Express, in connection with the marketing of American
        Express small business charge and/or credit cards to potential customers, to a cellular
        telephone number through the use of an automatic telephone dialing system, predictive
        dialer and/or an artificial or prerecorded voice.
  6. Are there exceptions to being included?
 “Telemarketing Settlement Class Member” is defined as any person in the Telemarketing
 Settlement Class who is not validly excluded from the Telemarketing Settlement Class. If you
 are still not sure whether you are included, you can visit other sections of the Settlement
 Website, www.***.com, you may write to the Claims Administrator at ***, c/o
 ________________________, or you may call the Toll-Free Settlement Hotline, 1-
 ____________, for more information.

                       THE LAWYERS REPRESENTING YOU

 6. Do I have lawyers in this case?

 The Court has appointed the law firms of Burke Law Offices, LLC, Keogh Law, Ltd., Lieff
 Cabraser Heimann & Bernstein, LLP, SmithMarco P.C. and Meyer Wilson Co., LPA, as Class
 Counsel to represent you and the other persons in the Telemarketing Settlement Class. You will
 not be personally charged by these lawyers.

 7. How will Class Counsel be paid?

 Class Counsel will ask the Court to approve payment of up to $2,750,000 (33-1/3%) of the
 $8,250,000 Telemarketing Settlement Fund to them for attorneys’ fees, plus actual litigation
 expenses. Class Counsel also will ask the Court to approve payment of up to $10,000 to
 Plaintiff for her services as Class Representative. The Court may award less than these
 amounts.

                   THE SETTLEMENT BENEFITS – WHAT YOU GET

 8. What does the settlement provide?

 Telemarketing Settlement Fund. American Express will pay the total amount of $8,250,000
 into a the Telemarketing Settlement Fund, which will cover: (1) cash payments to
 Telemarketing Settlement Class Members who submit timely and valid Claim Forms; (2) an
 award of attorneys’ fees and costs to Class Counsel, in an amount not to exceed $2,750,000 (33-
 1/3%) of the Settlement Fund plus actual litigation expenses, as approved by the Court; (3) a
 service award to Plaintiff, in an amount not to exceed $10,000, as approved by the Court; (4) the
 costs of notice and administration of the Telemarketing Settlement in an amount not to exceed
 $697,000; and (5) if there are any uncashed checks, a charitable contribution, approved by the
 Court.

 Cash Payments. All Telemarketing Settlement Class Members are eligible to submit a Claim
 Form and receive a cash payment. To submit a Claim Form, follow the procedures described
 under Question 11 below.




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                                           EXHIBIT 4
 No Portion of the Telemarketing Settlement Fund Will Return to American Express. Any
 money remaining in the Telemarketing Settlement Fund after paying all valid and timely claims
 to Telemarketing Settlement Class Members, attorneys’ fees and costs to Class Counsel, any
 service award to Plaintiff and the costs of notice and administration of the Telemarketing
 Settlement will be paid either: (1) in a second distribution to Telemarketing Settlement Class
 Members (i) who submitted valid and timely Claim Forms and whose initial payments were
 cashed, and (ii) who, prior to the first distribution, submitted untimely, but otherwise valid
 Claims; or (2) if there are not enough funds to justify a second distribution, the remaining funds
 will be donated to _____, a cy pres recipient approved by the Court. No portion of the
 Telemarketing Settlement Fund will return to American Express.

 9. How much will my payment be?

 Your share of the Telemarketing Settlement Fund will depend on the number of valid Claim
 Forms that Telemarketing Settlement Class Members submit. Class counsel estimates that the
 amount will be at least $50.

 10. What am I giving up to stay in the Telemarketing Settlement Class?

 Unless you exclude yourself from the Telemarketing Settlement, you will be part of the
 Telemarketing Settlement Class and will be bound by the release of claims in the Telemarketing
 Settlement. This means that if the Telemarketing Settlement is approved, you cannot rely on
 any Released Claim to sue or continue to sue, on your own or as part of any other lawsuit,
 American Express, Alorica and/or any other Released Parties, as explained in the settlement
 agreement. It also means that all of the Court’s orders will apply to you and legally bind you.
 Unless you exclude yourself from the Telemarketing Settlement, you will agree to release
 American Express, Alorica and any other Released Parties, as defined in the settlement
 agreement, from any and all claims that arise from the automated calls to your cellular telephone
 at issue in this action.

 In summary, the Release includes, without limitation, all claims that arise out of the use by
 American Express or any of its agents or affiliates, acting for or on their behalf, of an
 “automatic telephone dialing system” and/or an “artificial or prerecorded voice” to make “calls”
 to a cellular telephone (to the fullest extent that those terms are used, defined or interpreted by
 the TCPA, relevant regulatory or administrative promulgations and case law) to make collection
 calls to a cellular telephone number, by or on behalf of the Released Parties, including, but not
 limited to, claims under or for violation of the TCPA, and the regulations promulgated
 thereunder and relevant case law, and all claims for violation of any other state or federal
 statutory or common law that regulates, governs, prohibits or restricts the making, placing or
 initiating of calls using an automatic telephone dialing system and/or an artificial or prerecorded
 voice.

 If you have any questions about the Release or what it means, you can speak to Class Counsel,
 listed under Question 6, for free, or you can, at your own expense, talk to your own lawyer. The
 Release does not apply to persons potentially in the Telemarketing Settlement Class who timely
 exclude themselves.




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                                      EXHIBIT 4
                              HOW TO OBTAIN A PAYMENT

 11. How can I get a payment?

 To receive a payment, you must submit a Claim Form. You may get a Claim Form on the
 Settlement Website, www.***.com, or by calling the Toll-Free Settlement Hotline,
 ____________. Read the instructions carefully, fill out the form completely and accurately
 and submit it. To be valid, the Claim Form must be completed fully and accurately and
 submitted timely. The Claim Form must also include the written, electronic or oral affirmation
 set forth on the Claim Form. A Claim Form may be submitted by mail to the Claims
 Administrator at: ***, c/o ________________________, or via the Settlement Website [click
 here].

 If you are submitting your claim via the Settlement Website, it must be submitted no later than
 ***. If you are mailing your Claim Form to the Claims Administrator, it must be postmarked
 by that date.

               WHEN WILL I RECEIVE MY SETTLEMENT PAYMENT?

 12. When would I receive a settlement payment?

 The Court will hold a Final Approval Hearing on *** to decide whether to approve the
 Telemarketing Settlement. If the Court approves the Telemarketing Settlement, after that, there
 may be appeals. It is always uncertain whether these appeals can be resolved, and resolving
 them can take time, perhaps more than a year. Everyone who sends in a Claim Form will be
 informed of the progress of the settlement through information posted on the Settlement
 Website at www.***.com. Please be patient.

               EXCLUDING YOURSELF FROM THE SETTLEMENT

 13. How do I get out of the settlement?

 If you want to keep the right to sue or continue to sue American Express, Alorica or a Released
 Party, as defined in the settlement agreement, then you must take steps to get out of the
 Telemarketing Settlement Class. This is called excluding yourself from, or opting-out of, the
 Telemarketing Settlement Class.

 To exclude yourself from the Telemarketing Settlement, you must send an exclusion request to
 the claims administrator. To be valid, an exclusion request must: (i) be signed by the person in
 the Telemarketing Settlement Class who is requesting exclusion; (ii) include the full name and
 address of the person in the Telemarketing Settlement Class requesting exclusion; and (iii)
 include the following statement: “I/we request to be excluded from the Telemarketing
 Settlement in the Ossola action.” No request for exclusion will be valid unless all of the
 information described above is included. No person in the Telemarketing Settlement Class, or
 any person acting on behalf of or in concert or participation with that person in the
 Telemarketing Settlement Class, may exclude any other person or any group of persons from
 the Telemarketing Settlement Class.


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                                          EXHIBIT 4

 To be valid, you must mail your exclusion request postmarked no later than *** to the
 Claims Administrator at ***, c/o _________________________________.

 14. If I do not exclude myself, can I sue American Express, and/or Alorica for the same
 thing later?

 No. If you do not exclude yourself, you give up any right to sue (or continue to sue) American
 Express, Alorica or any Released Parties for the claims that the Telemarketing Settlement
 resolves.

 15. If I exclude myself, can I get a benefit from this settlement?

 No. If you ask to be excluded, you will not be able to submit a Claim Form for a settlement
 payment and you cannot object to the Telemarketing Settlement.

                          OBJECTING TO THE SETTLEMENT

 16. How do I tell the Court that I do not think the settlement is fair?

 If you are in the Telemarketing Settlement Class, you can object to the Telemarketing
 Settlement or any part of the Telemarketing Settlement that you think the Court should reject,
 and the Court will consider your views. If you do not provide a written objection in the manner
 described below, you shall be deemed to have waived any objection and shall forever be
 foreclosed from making any objection to the fairness, reasonableness, or adequacy of the
 Telemarketing Settlement or the award of any attorneys’ fees and costs and/or service awards.

 To object, you must make your objection in writing, stating that you object to the Telemarketing
 Settlement in Ossola, et al. v. American Express Company, et al. To be considered by the
 Court, the written objection must: (a) attach documents establishing, or provide information
 sufficient to allow the Parties to confirm, that the objector is a Telemarketing Settlement Class
 Member, including providing the cellular telephone number called; (b) include a statement of
 such Telemarketing Settlement Class Member’s specific objections; (c) state the grounds for
 objection, as well as identify any documents which the objector desires the Court to consider;
 and (d) if the Telemarketing Settlement Class Member is represented by an attorney, list all
 other cases in which the Telemarketing Class Member has filed an objection.

 To be considered, you must file your objections with the Court and mail your
 objections to the addresses below no later than ***.

 For Plaintiffs:                                  For American Express:

 Lieff Cabraser Heimann Bernstein, LLP            Stroock & Stroock & Lavan LLP
 Daniel M. Hutchinson, Esq.                       Julia B. Strickland, Esq.
 275 Batter Street, 29th Floor                    2029 Century Park East
 San Francisco, CA 94111                          Los Angeles, CA 90067-3086




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 Even if you timely and properly object, to obtain a benefit from this settlement, you
 must submit a Claim Form. If you object but fail to submit a Claim Form, you will not
 receive any monetary award.

 17. What is the difference between objecting and excluding yourself?

 Objecting is telling the Court that you do not like something about the Telemarketing
 Settlement. You can object only if you stay in the Telemarketing Settlement Class. Excluding
 yourself means that you do not want to be part of the Telemarketing Settlement Class. If you
 exclude yourself, you have no basis to object because the case no longer affects you.

                                  IF YOU DO NOTHING

 18. What happens if I do nothing at all?

 If you do nothing, you will not receive any monetary award and you will give up your rights to
 sue American Express, Alorica and/or any other Released Parties on a Released Claim. For
 information relating to what rights you are giving up, see Question 10.

                            THE FINAL APPROVAL HEARING

 19. When and where will the Court decide whether to approve the settlement?

 The Court will hold a Final Approval Hearing at *** a/p.m. on *** at the United States District
 Court for the Northern District of Illinois, 219 South Dearborn Street, Chicago, Illinois, 60604,
 Courtroom 1225. At this hearing, the Court will consider whether the Telemarketing Settlement
 is fair, reasonable and adequate. If there are valid objections that comply with the requirements
 in Question 14 above, the Court also will consider them and will listen to people who have
 asked to speak at the hearing. The Court may also decide how much to pay to Class Counsel
 and Plaintiff.

 The Final Approval Hearing may be moved to a different date or time without additional notice,
 so it is a good idea to check the Settlement Website for updates.
  21. Do I have to come to the hearing?**
 20. Do I have to come to the hearing?

 No. Class Counsel will appear on behalf of the Telemarketing Settlement Class. But, you are
 welcome to come, or have your own lawyer appear, at your own expense.
  22. May I speak at the hearing?
 21. May I speak at the hearing?

 You may ask the Court for permission to speak at the Final Approval Hearing, but only in
 connection with an objection that you have timely submitted to the Court according to the
 procedure set forth in Question 16 above. To speak at the Final Approval Hearing, you must
 also file a document with the Court stating your intention to appear. For this document to be


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 considered, it must include your name, address, telephone number and your signature. The
 document must be filed with the Court no later than ***. You cannot speak at the hearing if you
 exclude yourself from the Telemarketing Settlement.

                          GETTING MORE INFORMATION

 22. How do I get more information?

 This notice is only a summary of the proposed settlement. You can get a copy of the settlement
 agreement by visiting the Settlement Website, www.***.com, or you can write to the address
 below or call the Toll-Free Settlement Hotline, __________. You can also contact Class
 Counsel with any questions at *** or ***.

 DO NOT CALL OR WRITE TO THE COURT, THE CLERK OF THE COURT,
 AMERICAN EXPRESS OR AMERICAN EXPRESS’S COUNSEL, ALORICA OR
 ALORICA’S COUNSEL ABOUT THE TELEMARKETING SETTLEMENT.




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                                   EXHIBIT 5

                      PRELIMINARY APPROVAL ORDER




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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

JENNIFER OSSOLA, JOETTA                )     Case No. 1:13-cv-04836
CALLENTINE and SCOTT DOLEMBA,)
on behalf of themselves and all others )     [PROPOSED] ORDER (1)
similarly situated,                    )     CONDITIONALLY CERTIFYING
                                       )     TELEMARKETING
              Plaintiffs,                    SETTLEMENT CLASS, (2)
                                       )
                                       )     PRELIMINARILY APPROVING
      vs.
                                       )     CLASS ACTION
AMERICAN EXPRESS COMPANY, )                  TELEMARKETING
AMERICAN EXPRESS CENTURION )                 SETTLEMENT, (3) APPROVING
BANK, AND WEST ASSET                         NOTICE PLAN AND (4) SETTING
                                       )     FINAL APPROVAL HEARING
MANAGEMENT, INC.
                                       )     FOR TELEMARKETING
              Defendants.              )     SETTLEMENT
                                       )
                                       )


        This matter came before the Court on Plaintiff’s Motion for Preliminary

Approval of the proposed class action settlement (the “Telemarketing Settlement”)

in the case entitled Ossola, et al. v. American Express Company, et al., United

States District Court for the Northern District of Illinois Case No. 13-04836 (the

“Action”). The Action is brought by plaintiff Joetta Callentine (“Plaintiff”),

individually and on behalf of all others similarly situated, against defendants

American Express Company, American Express Centurion Bank (together,

“American Express”) and West Asset Management, Inc. (“WAM” and, together

with American Express and Plaintiff, the “Parties”). Based on this Court’s review


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of the Parties’ Settlement Agreement and Release (the “Telemarketing

Agreement”), Plaintiff’s Motion for Preliminary Approval of Telemarketing

Settlement, and the arguments of counsel, THE COURT HEREBY FINDS AND

ORDERS AS FOLLOWS:


        1.    Settlement Terms. Unless otherwise defined herein, all terms in this

Order shall have the meanings ascribed to them in the Telemarketing Agreement.


        2.    Jurisdiction. The Court has jurisdiction over the subject matter of the

Action, the Parties, and all persons in the Telemarketing Settlement Class.


        3.    Scope of Telemarketing Settlement. The Telemarketing Agreement

resolves all claims for the Telemarketing Class alleged in the Class Action

Complaint filed in the Northern District of Illinois on July 3, 2013, as amended on

October 25, 2013, January 24, 2014 and June 10, 2014. See Dkts. 1, 34, 71 and

126.


        4.    Preliminary Approval of Proposed Telemarketing Settlement. The

Court has conducted a preliminary evaluation of the Telemarketing Settlement as

set forth in the Telemarketing Agreement. Based on this preliminary evaluation,

the Court finds that: (a) the Telemarketing Settlement is fair, reasonable and

adequate, and within the range of possible approval; (b) the Telemarketing

Agreement has been negotiated in good faith at arm’s length between experienced

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attorneys familiar with the legal and factual issues of this case; and (c) with respect

to the forms of notice of the material terms of the Telemarketing Settlement to

persons in the Telemarketing Settlement Class for their consideration (Exs. 2, 3

and 4 to the Agreement), that notice is appropriate and warranted. Therefore, the

Court grants preliminary approval of the Telemarketing Settlement.


        5.    Class Certification for Settlement Purposes Only. The Court,

pursuant to Rule 23 of the Federal Rules of Civil Procedure, conditionally certifies,

for purposes of this Telemarketing Settlement only, the following Telemarketing

Settlement Class:


              All persons nationwide within the United States who, on
              or after July 3, 2009 through March 15, 2016, received a
              telemarketing call from Alorica Inc. (or its agents or
              affiliates) on behalf of American Express, in connection
              with the marketing of American Express small business
              charge and/or credit cards to potential customers, to a
              cellular telephone number through the use of an
              automatic telephone dialing system, predictive dialer
              and/or artificial or prerecorded voice.

        6.    In connection with this conditional certification, the Court makes the

following preliminary findings:


              (a)   The Telemarketing Settlement Class appears to be so numerous

that joinder of all members is impracticable;




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              (b)   There appear to be questions of law or fact common to the

Telemarketing Settlement Class for purposes of determining whether the

Telemarketing Settlement should be approved;


              (c)   Plaintiff’s claims appear to be typical of the claims being

resolved through the Telemarketing Settlement;


              (d)   Plaintiff appears to be capable of fairly and adequately

protecting the interests of all members of the Telemarketing Settlement Class in

connection with the Telemarketing Settlement;


              (e)   For purposes of determining whether the Telemarketing

Settlement is fair, reasonable and adequate, common questions of law and fact

appear to predominate over questions affecting only individual persons in the

Telemarketing Settlement Class; accordingly, the Telemarketing Settlement Class

appears to be sufficiently cohesive to warrant settlement by representation; and


              (f)   For purposes of the Telemarketing Settlement, certification of

the Telemarketing Settlement Class appears to be superior to other available

methods for the fair and efficient settlement of the claims of the Telemarketing

Settlement Class.




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        7.    Class Representative. The Court appoints Plaintiff to act as class

representative of the Telemarketing Settlement Class pursuant to Rule 23 of the

Federal Rules of Civil Procedure.


        8.    Class Counsel. The Court appoints Burke Law Offices, LLC, Keogh

Law, Ltd., Lieff Cabraser Heimann & Bernstein, LLP, SmithMarco P.C. and

Meyer Wilson Co., LPA as Class Counsel pursuant to Rule 23 of the Federal Rules

of Civil Procedure.


        9.    Final Approval Hearing. At _____ _.m. on __________, 2016, in

Courtroom 1225 of United States Courthouse, 219 South Dearborn Street,

Chicago, Illinois, 60604, or at such other date and time later set by Court Order,

this Court will hold a Final Approval Hearing on the fairness, adequacy and

reasonableness of the Telemarketing Agreement and to determine whether (a) final

approval of the Telemarketing Settlement embodied in the Telemarketing

Agreement should be granted, and (b) Class Counsel’s application for attorneys’

fees and expenses, and service award to Plaintiff, should be granted, and in what

amount. No later than ________, 2016, which is thirty (30) days prior to the Opt-

Out and Objection deadline, Plaintiff must file papers in support of Class

Counsel’s application for attorneys’ fees and expenses and the service award to

Plaintiff. No later than _______, 2016, which is fourteen (14) days prior to the


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Final Approval Hearing, papers in support of final approval of the Telemarketing

Settlement and response to any written objections must be filed.


        10.   Settlement Claims Administrator. Kurtzman Carson Consultants is

hereby appointed as the Claims Administrator and shall be required to perform all

the duties of the Claims Administrator as set forth in the Telemarketing Agreement

and this Order.


        11.   Class Notice. The Court approves the proposed plan for giving notice

to the Telemarketing Settlement Class directly (using e-mail and post cards) and

establishment of a Settlement Website, as more fully described in Plaintiff’s

Motion and the Agreement (“Notice Plan”). The Notice Plan, in form, method and

content, complies with the requirements of Rule 23 of the Federal Rules of Civil

Procedure and due process, and constitutes the best notice practicable under the

circumstances. The Court hereby directs the Parties and the Claims Administrator

to complete all aspects of the Notice Plan no later than _____________, 2016

(“Notice Deadline”).


        12.   The Claims Administrator will file with the Court by no later than

___________, 2016, which is fourteen (14) days prior to the Final Approval

Hearing, proof that notice was provided in accordance with the Telemarketing

Agreement and this Order.


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        13.   To the extent any person in the Telemarketing Settlement Class is also

a member of the separate class action settlement which American Express, WAM

and plaintiffs Jennifer Ossola (“Ossola”) and Scott Dolemba (“Dolemba”) have

entered to resolve the individual and putative class claims asserted by Ossola and

Dolemba in the Action relating to debt collection calls by WAM on behalf of

American Express (the “Debt Collection Settlement”), that person is not precluded

by submitting a claim from participating in the Debt Collection Settlement,

including submitting a claim, requesting exclusion or objecting to the Debt

Collection Settlement, pursuant to the conditions described in the Settlement

Agreement and Release in the Debt Collection Settlement.


        14.   Opt-Out and Objection Deadline. Persons in the Telemarketing

Settlement Class who wish to either object to the Telemarketing Settlement or

request exclusion from the Telemarketing Settlement Class must do so by

__________, 2016, which is sixty (60) calendar days after the Notice Deadline.

Persons in the Telemarketing Settlement Class may not both object and opt-out. If

a person both requests to opt-out and objects, the request to opt-out will control.


        15.   Exclusion from the Telemarketing Settlement Class. To request

exclusion from the Telemarketing Settlement Class, a person in the Telemarketing

Settlement Class must follow the directions in the Class Notice and send a


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compliant request to the Claims Administrator at the address designated in the

Class Notice by the Opt-Out and Objection Deadline. Exclusion requests must: (i)

be personally signed by the person in the Telemarketing Settlement Class who is

requesting exclusion; (ii) include the full name and address of the person in the

Telemarketing Settlement Class requesting exclusion; and (iii) include the

following statement: “I/we request to be excluded from the Telemarketing

Settlement in the Ossola action.” No request for exclusion will be valid unless all

of the foregoing information is included. No person in the Telemarketing

Settlement Class, or any person acting on behalf of or in concert or participation

with that person in the Telemarketing Settlement Class, may exclude any other

person or any group of persons from the Telemarketing Settlement Class.


        16.   The Claims Administrator will retain a copy of all requests for

exclusion. Not later than fourteen (14) days before the Final Approval Hearing,

the Claims Administrator will file under seal with the Court a declaration that lists

all of the exclusion requests received.


        17.   If a timely and valid exclusion request is made by a person in the

Settlement Class, then the Telemarketing Agreement and any determinations and

judgments concerning the Telemarketing Settlement will not bind the excluded

person.


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        18.   All Telemarketing Settlement Class Members will be bound by all

determinations and judgments concerning the Telemarketing Settlement.


        19.   Objections to the Telemarketing Settlement. To object to the

Telemarketing Settlement, Telemarketing Settlement Class Members must follow

the directions below and in the Class Notice and file a written objection with the

Court by the Opt-Out and Objection Deadline. Telemarketing Settlement Class

Members also must mail the objection by the Opt-Out and Objection Deadline to

each of the following: (i) Class Counsel –Lieff Cabraser Heimann & Bernstein,

LLP, Daniel M. Hutchinson, 275 Battery Street, 29th Floor, San Francisco, CA

94111; and (ii) American Express’s Counsel – Julia B. Strickland, Stroock &

Stroock & Lavan LLP, 2029 Century Park East, Los Angeles, California 90067. In

connection with an objection, the Telemarketing Settlement Class Member must:

(a) attach documents establishing, or provide information sufficient to allow the

Parties to confirm, that the objector is a Telemarketing Settlement Class Member,

including providing the cellular telephone number called; (b) include a statement

of such Telemarketing Settlement Class Member’s specific objections; (c) state the

grounds for objection, as well as identify any documents which such objector

desires the Court to consider; and (d) if the Telemarketing Settlement Class

Member is represented by an attorney, list all other cases in which the



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Telemarketing Class Member has filed an objection. The Court will not consider

an objection unless the objection includes all of the foregoing information.


        20.   Any Telemarketing Settlement Class Member who fails to comply

with Paragraph 19 will not be permitted to object to the Telemarketing Settlement

at the Final Approval Hearing, will be foreclosed from seeking any review of the

Telemarketing Settlement by appeal or other means, will be deemed to have

waived his, her or its objections, and will be forever barred from making any

objections in the Action or any other related action or proceeding. All

Telemarketing Settlement Class Members will be bound by all determinations and

judgments in the Action, whether favorable or unfavorable to the Telemarketing

Settlement Class.


        21.   For any objection filed, the Clerk of the Court is ordered to redact any

social security number, the street address, telephone number and last name except

first letter of last name in order to protect the objector’s privacy. The objector’s

first name and city, state and zip code, as well as the objection, will not be

redacted.


        22.   If for any reason whatsoever this Telemarketing Settlement is not

finalized or the Telemarketing Settlement as detailed in the Telemarketing

Agreement is not finally approved by the Court, the certification of the


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Telemarketing Settlement Class shall be void and the Parties and the Action will

return to the status quo as it existed prior to the Telemarketing Agreement, and no

doctrine of waiver, estoppel or preclusion will be asserted in any proceedings, in

response to any motion seeking class certification, any motion seeking to compel

arbitration or otherwise asserted at any other stage of the Action or in any other

proceeding. No agreements, documents or statements made by or entered into by

any Party in connection with the Telemarketing Settlement may be used by

Plaintiff, any person in the proposed Telemarketing Settlement Class, American

Express or any other person to establish liability, any defense and/or any of the

elements of class certification, whether in the Action or in any other proceeding.


        23.   In the event that the Telemarketing Settlement is not approved, or is

terminated, canceled or fails to become effective for any reason, the money

remaining in the Telemarketing Settlement Fund (including accrued interest), less

expenses and taxes incurred or due and owing and payable from the Settlement

Fund in accordance with the Telemarketing Agreement, shall be returned to

American Express within 15 days of the event that causes the Telemarketing

Agreement to not become effective.


        24.   No Admission of Liability. The Telemarketing Agreement and any

and all negotiations, documents, and discussions associated with it, will not be


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deemed or construed to be an admission or evidence of any violation of any statute,

law, rule, regulation or principle of common law or equity, or of any liability or

wrongdoing by American Express, or the truth of any of the claims. Evidence

relating to the Telemarketing Agreement will not be discoverable or used, directly

or indirectly, in any way, whether in the Action or in any other action or

proceeding, except for purposes of demonstrating, describing, implementing or

enforcing the terms and conditions of the Telemarketing Agreement, this Order

and the Final Approval Order.


        25.   Reasonable Procedures to Effectuate the Telemarketing Settlement.

Counsel are hereby authorized to use all reasonable procedures in connection with

approval and administration of the Telemarketing Settlement that are not

materially inconsistent with this Order or the Telemarketing Agreement, including

making, without further approval of the Court, minor changes to the form or

content of the Class Notice and Claim Form and other exhibits that they jointly

agree are reasonable and necessary. The Court reserves the right to approve the

Telemarketing Agreement with such modifications, if any, as may be agreed to by

the Parties without further notice to persons in the Telemarketing Settlement Class.


        26.   Schedule of Future Events. Accordingly, the following are the

deadlines by which certain events must occur:


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________, 2016        Deadline for notice to be provided in accordance with the
[30 days after the    Agreement and this Order (Notice Deadline)
date of this Order]
_________, 2016       Deadline for filing of Plaintiff’s Motion for Attorneys’ Fees
[30 days after the    and Costs and Service Awards
Notice Deadline]
________, 2016        Deadline to file objections or submit requests for exclusion
[60 days after the    (Opt-Out and Objection Deadline)
Notice Deadline]
________, 2016        Deadline for Settlement Class Members to Submit a Claim
[90 days after the    Form (Claim Period)
Notice Deadline]
__________, 2016      Deadline for Parties to file the following:
[14 days prior to       (1) List of persons who made timely and proper requests
Final Approval
Hearing ]                   for exclusion (under seal);
                        (2) Proof of Class Notice; and
                        (3) Motion and memorandum in support of final approval,
                            including responses to any objections.
____, 2016 at .m.     Final Approval Hearing
[No earlier than
135 days from the
entry of this
Order]



        IT IS SO ORDERED.


Dated:______________________          _____________________________________
                                      Hon. John Z. Lee
                                      United States District Judge




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                                   EXHIBIT 6

                           FINAL APPROVAL ORDER




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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

JENNIFER OSSOLA, JOETTA                ) Case No. 1:13-cv-04836
CALLENTINE and SCOTT DOLEMBA,)
on behalf of themselves and all others )
similarly situated,                    )
                                       ) [PROPOSED] FINAL JUDGMENT
              Plaintiffs,
                                       ) AND ORDER OF DISMISSAL
      vs.                              )
                                       )
AMERICAN EXPRESS COMPANY, )
AMERICAN EXPRESS CENTURION )
BANK, and WEST ASSET                   )
MANAGEMENT, INC.,
                                       )
              Defendant.               )
                                       )
                                       )
                                       )


        The Court having held a Final Approval Hearing on *** -.m., notice of the

Final Approval Hearing having been duly given in accordance with this Court’s

Order (1) Conditionally Certifying A Telemarketing Settlement, (2) Preliminarily

Approving Class Action Telemarketing Settlement, (3) Approving Telemarketing

Settlement Notice Plan, and (4) Setting Final Approval Hearing for Telemarketing

Settlement (“Preliminary Approval Order”), and having considered all matters

submitted to it at the Final Approval Hearing and otherwise, and finding no just




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reason for delay in entry of this Final Judgment and good cause appearing

therefore,


        It is hereby ORDERED, ADJUDGED AND DECREED as follows:


        1.    The Telemarketing Settlement Agreement and Release, including its

exhibits, fully executed on June ____, 2016 (the “Telemarketing Agreement”), and

the definitions contained therein are incorporated by reference in this Order. The

terms of this Court’s Preliminary Approval Order (Dkt. No. ***) are also

incorporated by reference in this Order.


        2.    This Court has jurisdiction over the subject matter of this Action and

over the Parties pursuant to 28 U.S.C. § 1332, including all members of the

Telemarketing Settlement Class certified for settlement purposes in this Court’s

Preliminary Approval Order.


        3.    The Telemarketing Settlement Class means all persons nationwide

within the United States who, on or after July 3, 2009 through March 15, 2016,

received a telemarketing call from Alorica Inc. (or its agents or affiliates) on behalf

of American Express, in connection with the marketing of American Express small

business charge and/or credit cards to potential customers, to a cellular telephone

number through the use of an automatic telephone dialing system, predictive dialer

and/or an artificial or prerecorded voice. Excluded from the Telemarketing

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Settlement Class are the Judge to whom the Action is assigned and any member of

the Judge’s staff and immediate family, as well as all persons who are validly

excluded from the Telemarketing Settlement Class. All Persons who validly

excluded themselves from the Telemarketing Settlement Class are not

Telemarketing Settlement Class Members as that term is defined and used herein,

and shall not be bound by this Final Approval Order or any release provided

herein. A list identifying all Persons who validly excluded themselves from the

Telemarketing Settlement Class has been filed under seal with the Court (see Dkt.

No. ___).


        4.    The Court has considered and hereby overrules all objections to the

Telemarketing Settlement. After consideration of all relevant factors, the Court

finds that none of them is well-founded and that the Telemarketing Settlement,

taken as a whole, is fair, reasonable and adequate to all concerned.


        5.    The Court hereby finds that the Telemarketing Agreement is the

product of arm’s-length settlement negotiations between Plaintiff and Class

Counsel, on the one hand, and American Express and its respective counsel on the

other hand.


        6.    The Court hereby finds and concludes that Class Notice was

disseminated to members of the Telemarketing Settlement Class in accordance


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with the terms set forth in Section III.E of the Telemarketing Agreement and this

Court’s Preliminary Approval Order (Dkt. No. ***).


        7.      The Court hereby finds and concludes that the Notice Program and

claims submission procedures fully satisfy Rule 23 of the Federal Rules of Civil

Procedure and the requirements of due process, and constitute the best notice

practicable under the circumstances. The Court further finds that the Notice

Program provided individual notice to all members of the Telemarketing

Settlement Class who could be identified through reasonable effort and supports

the Court’s exercise of jurisdiction over the Telemarketing Settlement Class as

contemplated in the Telemarketing Settlement and this Order.


        8.      This Court hereby finds and concludes that the notice provided by

American Express pursuant to 28 U.S.C. § 1715 fully satisfied the requirements of

that statute.


        9.      The Court finds that the Telemarketing Settlement’s terms constitute,

in all respects, a fair, reasonable, and adequate settlement as to all Telemarketing

Settlement Class Members in accordance with Rule 23 of the Federal Rules of

Civil Procedure, and directs its consummation pursuant to its terms and conditions.

Plaintiff, in her role as Class Representative, and Class Counsel adequately

represented the Telemarketing Settlement Class for purposes of entering into and


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implementing the Telemarketing Agreement. Accordingly, the Telemarketing

Agreement is hereby finally approved in all respects, and the Parties are hereby

directed to perform its terms. The Parties and Telemarketing Settlement Class

Members who were not excluded from the Telemarketing Settlement Class are

bound by the terms and conditions of the Telemarketing Agreement.


        10.   The Court hereby finds that the Settlement Class Members have been

adequately represented by Class Counsel. The Court specifically approves Class

Counsel’s application for attorneys’ fees and costs of $______, which the Court

finds to be fair and reasonable. Accordingly, Class Counsel is hereby awarded

$_______, such amounts to be paid from the Telemarketing Settlement Fund

pursuant to and in the manner provided by the terms of the Telemarketing

Agreement.


        11.   The Court finds the payment of a service award in the amount of

$10,000 to the Telemarketing Settlement Class Representative Joetta Callentine to

be fair and reasonable. Accordingly, the Telemarketing Settlement Class

Representative is hereby awarded $10,000, such amounts to be paid from the

Telemarketing Settlement Fund pursuant to and in the manner provided by the

terms of the Telemarketing Agreement.




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        12.   The Telemarketing Settlement Class described in paragraph 3 above is

hereby finally certified, solely for purposes of effectuating the Telemarketing

Settlement and this Order and Final Judgment.


        13.   The requirements of Rule 23(a) and (b)(3) have been satisfied for

settlement purposes, for the reasons set forth herein. The Telemarketing

Settlement Class is so numerous that joinder of all members is impracticable; there

are questions of law and fact common to the class; the claims of the Class

Representative are typical of the claims of the Telemarketing Settlement Class; the

Class Representative will fairly and adequately protect the interests of the class;

the questions of law or fact common to class members predominate over any

questions affecting only individual members; and a class action is superior to other

available methods for fairly and efficiently adjudicating the controversy between

the Telemarketing Settlement Class Members and American Express.


        14.   This Court hereby dismisses, with prejudice, without costs to any

party, except as expressly provided for in the Agreement, this Action.


        15.   The Claims Administrator is directed to distribute the consideration to

the Telemarketing Settlement Class pursuant to the terms of the Telemarketing

Agreement.




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        16.   Plaintiff and each and every one of the Telemarketing Settlement

Class Members unconditionally, fully, and finally release and forever discharge the

Released Parties from the Released Claims as provided for in the Telemarketing

Agreement. In addition, any rights of the Telemarketing Settlement Class

Representatives and each and every one of the Telemarketing Settlement Class

Members to the protections afforded under Section 1542 of the California Civil

Code and/or any other similar, comparable, or equivalent laws, are terminated.


        17.   Each and every Telemarketing Settlement Class Member, and any

person actually or purportedly acting on behalf of any Telemarketing Settlement

Class Member(s), is hereby permanently barred and enjoined from commencing,

instituting, continuing, pursuing, maintaining, prosecuting, or enforcing any

Released Claims (including, without limitation, in any individual, class or putative

class, representative or other action or proceeding), directly or indirectly, in any

judicial, administrative, arbitral, or other forum, against the Released Parties. This

permanent bar and injunction is necessary to protect and effectuate the

Telemarketing Agreement, this Final Judgment and Order of Dismissal, and this

Court’s authority to effectuate the Telemarketing Agreement, and is ordered in aid

of this Court’s jurisdiction and to protect its judgments.




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        18.   The Telemarketing Agreement (including, without limitation, its

exhibits), and any and all negotiations, documents, and discussions associated with

it, shall not be deemed or construed to be an admission or evidence of any

violation of any statute, law, rule, regulation, or principle of common law or

equity, of any liability or wrongdoing, by American Express, or of the truth of any

of the claims asserted by Plaintiff, and evidence relating to the Telemarketing

Agreement shall not be discoverable or used, directly or indirectly, in any way,

whether in this Action or in any other action or proceeding, except for purposes of

enforcing the terms and conditions of the Telemarketing Agreement, the

Preliminary Approval Order, and/or this Order.


        19.   In the event that any provision of the Telemarketing Settlement or this

Final Judgment and Order of Dismissal is asserted by American Express or Alorica

as a defense in whole or in part to any claim, or otherwise asserted (including,

without limitation, as a basis for a stay) in any other suit, action, or proceeding

brought by a Telemarketing Settlement Class Member or any person actually or

purportedly acting on behalf of any Telemarketing Settlement Class Member(s),

that suit, action or other proceeding shall be immediately stayed and enjoined until

this Court or the court or tribunal in which the claim is pending has determined any

issues related to such defense or assertion. Solely for purposes of such suit, action,

or other proceeding, to the fullest extent they may effectively do so under

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applicable law, the Parties irrevocably waive and agree not to assert, by way of

motion, as a defense or otherwise, any claim or objection that they are not subject

to the jurisdiction of the Court, or that the Court is, in any way, an improper venue

or an inconvenient forum. These provisions are necessary to protect the

Telemarketing Agreement, this Order and this Court’s authority to effectuate the

Telemarketing Settlement, and are ordered in aid of this Court’s jurisdiction and to

protect its judgment.


        20.   By incorporating the Telemarketing Agreement and its terms herein,

the Court determines that this Final Judgment complies in all respects with Federal

Rule of Civil Procedure 65(d)(1).


        21.   Finding that there is no just reason for delay, the Court orders that this

Final Judgment and Order of Dismissal shall constitute a final judgment pursuant

to Rule 54 of the Federal Rules of Civil Procedure. The Court orders that, upon

the Effective Date, the Telemarketing Settlement shall be the exclusive remedy for

any and all Released Claims of Plaintiff and each and every Telemarketing

Settlement Class Member. The Clerk of the Court is directed to enter this Order on

the docket forthwith.


        22.   If an appeal, writ proceeding or other challenge is filed as to this Final

Approval Order, and if thereafter the Final Approval Order is not ultimately


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upheld, all orders entered, stipulations made and releases delivered in connection

herewith, or in the Telemarketing Settlement or in connection therewith, shall be

null and void to the extent provided by and in accordance with the Telemarketing

Settlement.


        23.   Without further order of the Court, the Parties may agree to

reasonably necessary extensions of time to carry out any of the provisions of the

Telemarketing Settlement.


        IT IS SO ORDERED.


Dated:____________________            ___________________________________
                                      Hon. John Z. Lee
                                      United States District Judge




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